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          22-1426                          To Be Argued By:
                                           MAURENE COMEY


     United States Court of Appeals
                FOR THE SECOND CIRCUIT
                   Docket No. 22-1426


               UNITED STATES OF AMERICA,
                                                    Appellee,
                            —v.—

  GHISLAINE MAXWELL, also known as Sealed Defendant 1,
                                        Defendant-Appellant.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF NEW YORK



    BRIEF FOR THE UNITED STATES OF AMERICA


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        United States Court of Appeals
                 FOR THE SECOND CIRCUIT
                    Docket No. 22-1426



                 UNITED STATES OF AMERICA,
                                                   Appellee,
                             —v.—

         GHISLAINE MAXWELL, also known as Sealed
                      Defendant 1,
                                      Defendant-Appellant.


       BRIEF FOR THE UNITED STATES OF AMERICA




                   Preliminary Statement
        Ghislaine Maxwell appeals from a judgment of con-
    viction entered on June 29, 2022 in the United States
    District Court for the Southern District of New York,
    by the Honorable Alison J. Nathan, United States Cir-
    cuit Judge, sitting by designation, following a four-
    and-a-half-week jury trial.
        Superseding Indictment S2 20 Cr. 330 (AJN) (the
    “Indictment”) was filed on March 29, 2021, in eight
    counts. Count One charged Maxwell with conspiracy
    to entice minors to travel to engage in illegal sex acts,
    in violation of 18 U.S.C. § 371. Count Two charged
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    Maxwell with enticement of a minor, in violation of 18
    U.S.C. §§ 2422 and 2. Count Three charged Maxwell
    with conspiracy to transport minors to engage in ille-
    gal sexual activity, in violation of 18 U.S.C. § 371.
    Count Four charged Maxwell with transportation of a
    minor with intent to engage in illegal sexual activity,
    in violation of 18 U.S.C. §§ 2423(a) and 2. Count Five
    charged Maxwell with sex trafficking conspiracy, in vi-
    olation of 18 U.S.C. § 371. Count Six charged Maxwell
    with sex trafficking of a minor, in violation of 18 U.S.C.
    §§ 1591(a) & (b)(2) and 2. Counts Seven and Eight
    charged Maxwell with perjury, in violation of 18
    U.S.C. § 1623.
       Trial on Counts One through Six commenced on
    November 29, 2021, and ended on December 29, 2021,
    when the jury found Maxwell guilty on Counts One
    and Three through Six, and acquitted Maxwell on
    Count Two.
       On June 29, 2022, Judge Nathan sentenced Max-
    well to a term of 240 months’ imprisonment, to be fol-
    lowed by five years’ supervised release, and imposed a
    $750,000 fine and a $300 mandatory special assess-
    ment.
       Maxwell is serving her sentence.

                      Statement of Facts

    A. The Government’s Case
        The Government’s evidence at trial established
    that over the course of a decade, Maxwell facilitated
    and participated in the sexual abuse of multiple young
    girls. From 1994 to 2004, Maxwell and Jeffrey Epstein
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                                3


    worked together to identify girls, groom them, and
    then entice them to travel and transport them to Ep-
    stein’s properties in New York, Florida, New Mexico,
    and elsewhere. The girls—some of whom were as
    young as 14 years old—were then sexually abused, of-
    ten under the guise of a “massage.”
        The evidence at trial included, among other things,
    the testimony of four women who described the sexual
    abuse they suffered at the hands of Maxwell and Ep-
    stein; the testimony of former employees of Epstein
    and Maxwell; the testimony of law enforcement offic-
    ers; corroborating physical evidence, including photo-
    graphs of and evidence recovered from searches of Ep-
    stein’s residences and Maxwell and Epstein’s black ad-
    dress book; and other corroborating records, such as
    flight logs of Epstein’s private planes and FedEx rec-
    ords.
        Beginning in approximately 1991, Maxwell had a
    close and intimate relationship with Epstein.
    (Tr.1494-96; GX-422). 1 Maxwell was Epstein’s girl-
    friend for many years, until the early 2000s, after

    —————
       1   “Tr.” refers to the trial transcript; “GX” refers to
    a Government exhibit at trial; “Voir Dire Tr.” refers to
    the voir dire transcript; “Br.” refers to Maxwell’s brief
    on appeal; “A.” refers to the appendix filed with that
    brief; “SA” refers to the supplemental appendix filed
    with this brief; and “Dkt.” refers to an entry on the Dis-
    trict Court’s docket for this case. Unless otherwise
    noted, quotations omit internal quotation marks, cita-
    tions, alterations, and footnotes.
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                               4


    which Maxwell and Epstein remained close friends.
    (Tr.1494-96; GX-422). For over a decade, Maxwell
    traveled with Epstein, a multi-millionaire, on his pri-
    vate planes and mingled with rich and famous people,
    while enjoying a life of extraordinary luxury. (Tr.96-
    99, 233-34, 303-04, 1194). Maxwell and Epstein spent
    time together in Epstein’s various properties, includ-
    ing his mansion on the Upper East Side in Manhattan,
    his villa in Palm Beach, his ranch in New Mexico, his
    apartment in Paris, and his private island in the U.S.
    Virgin Islands. (Tr.99). Maxwell also received a town-
    house that Epstein bought for her in New York City,
    and Epstein transferred more than $23 million to Max-
    well during the timeframe of the conspiracy. (Tr.1194,
    1310-17).
        In addition to her role as Epstein’s girlfriend, Max-
    well also supervised Epstein’s households as “the lady
    of the house.” (Tr.95, 783-84). When she took charge of
    Epstein’s homes, she imposed strict rules for staff,
    some of which were included in a household manual
    dictating the operation of the Palm Beach residence.
    (Tr.807-08, 823-31).
       To protect her criminal activities from exposure,
    Maxwell fostered a culture of silence at Epstein’s
    homes. (Tr.784, 826). The household manual made
    clear that staff were to “see nothing, hear nothing, say
    nothing, except to answer a question directed at” that
    staff member. (Tr.826). Maxwell directed Juan Alessi,
    the former manager of Epstein’s Palm Beach villa, to
    speak to Epstein only when spoken to and not to look
    Epstein in the eyes. (Tr.784).
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        This culture of silence provided cover for Maxwell
    and Epstein to sexually abuse young girls. In the early
    phase of the conspiracy, between 1994 and 2001, Max-
    well and Epstein identified vulnerable girls, typically
    from single-mother households and difficult financial
    circumstances. (Tr.295, 1178, 2051-52). Maxwell and
    Epstein then isolated the girls, spending time with
    them away from their family and friends. (Tr.296-99,
    1175-82, 2069-70, 2077-79). During that time, they
    groomed the girls through techniques such as giving
    them gifts, pretending to be friends, and building
    trust. (Tr.298-303, 348, 2079-81). Maxwell and Ep-
    stein then normalized sexual situations and sexual
    touching. (Tr.300-01, 2081-84). Finally, they transi-
    tioned to sexual abuse, often through the pretext of
    giving Epstein a massage. (Tr.306-15, 319-23, 1183-88,
    2084-88). 2
       In the later phase of the scheme, from 2001 through
    2004, Maxwell and Epstein developed a stream of girls
    who recruited each other to visit Epstein at his Palm
    Beach residence. (Tr.1518-25, 1543-46). Maxwell and
    Epstein paid young girls hundreds of dollars in cash in
    —————
       2   These techniques were the textbook methods of
    child predators. At trial, Dr. Lisa Rocchio, an expert in
    psychology with a specialized expertise in traumatic
    stress and interpersonal violence, explained that chil-
    dren are most frequently sexually abused through
    grooming and coercion in the context of a relationship.
    (Tr.713). Dr. Rocchio explained that abusers use a se-
    ries of deceptive tactics to engage a child in sexual
    abuse. (Tr.715-20).
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    exchange for meeting Epstein to be sexually abused,
    under the pretext of giving Epstein a massage.
    (Tr.1518-25, 1540-41, 1544-46). Once a girl was intro-
    duced to these sexualized massages, she was offered
    more money if she brought other girls to engage in sex-
    ualized massages. (Tr.1544-45).
       The trial evidence focused on six girls who suffered
    abusive sexual contact as a result of Maxwell’s crimi-
    nal actions: Jane, Kate, Annie, Carolyn, Virginia, and
    Melissa.

       1. Sexual Abuse of Jane
        Maxwell and Epstein met Jane in 1994 when she
    was just 14 years old at a summer camp for talented
    kids. (Tr.290-94). Jane was particularly vulnerable, as
    her father had just died (a fact that she told both Ep-
    stein and Maxwell), and her family was struggling fi-
    nancially. (Tr.293-94). Maxwell and Epstein cultivated
    a relationship with Jane, spending time with her at
    Epstein’s Palm Beach home and taking her to the mov-
    ies and shopping. (Tr.295-302, 348). Maxwell and Ep-
    stein gave Jane gifts, and Jane came to look up to Max-
    well like an older sister figure. (Tr.298-301).
       Maxwell and Epstein sexually abused Jane start-
    ing when she was 14 years old, and the sexual abuse
    continued for years. (Tr.306-15). When Jane was still
    only 14 years old, Maxwell and Epstein instructed
    Jane to follow them to Epstein’s bedroom where Max-
    well and Epstein fondled each other, casually giggling,
    while Epstein asked Jane to take her top off. (Tr.307).
    After this sexual interaction, Maxwell and Epstein
    taught Jane how Epstein liked to be massaged and
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    gave Jane instructions about touching Epstein’s penis.
    (Tr.308-11). Jane was repeatedly sexually abused by
    Epstein between the ages of 14 and 16 years old, and
    Maxwell was frequently in the room when the abuse
    happened. (Tr.307-15). Over time, the abuse escalated,
    as Epstein used vibrators on Jane, put his fingers in
    Jane’s vagina, and asked Jane to straddle his face.
    (Tr.319-20). Maxwell sometimes touched Jane, includ-
    ing on her breasts, during these incidents. (Tr.311).
    Jane also traveled with Maxwell (who assisted Jane in
    making travel arrangements) and Epstein to Epstein’s
    townhouse in New York City and his ranch in New
    Mexico, where she was sexually abused. (Tr.316-24).

       2. Sexual Abuse of Kate
       Maxwell and Epstein’s sexual abuse of Kate started
    in 1994, around the same time that Maxwell and Ep-
    stein started sexually abusing Jane. (Tr.1172, 1179-
    86). After Kate, then 17 years old, told Maxwell that
    she lived alone with her mother and had a difficult
    home life, Maxwell introduced Kate to Epstein in Lon-
    don. (Tr.1178-82). Maxwell delivered Kate to a naked
    Epstein in Maxwell’s own home for massages and told
    Kate to “have a good time.” (Tr.1182-89). During these
    massages, Epstein initiated sexual contact. (Id.).
        Kate traveled to meet both Maxwell and Epstein in
    Palm Beach, the Virgin Islands, and New York City
    between the ages of 18 and 24. (Tr.1190-98). Epstein
    initiated sexual activity with Kate every time she vis-
    ited him. (Id.). Maxwell brought up sexual topics with
    Kate, ranging from talking about how sexually de-
    manding Epstein was to asking if Kate knew “anybody
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    who could come and give Jeffrey a blow job” to remark-
    ing that Epstein liked cute, young, pretty girls like
    Kate. (Tr.1191-93).
        When Kate was approximately 18 years old, she
    visited Epstein and Maxwell in Palm Beach. (Tr.1199).
    Maxwell left a schoolgirl outfit for Kate and said it
    would be fun for Kate to wear for Epstein. (Tr.1200-
    01). Kate—alone in a place she had never previously
    visited—complied. (Id.). Epstein initiated sexual con-
    tact with Kate and engaged in a sex act with her.
    (Tr.1202). Later that day, Maxwell asked Kate if she
    had fun and told Kate that she was a “good girl” and
    “one of [Epstein’s] favorites.” (Tr.1202). Epstein en-
    gaged in unwanted sexual activity with Kate multiple
    times during that same trip. (Id.).

       3. Sexual Abuse of Annie Farmer
        Maxwell also took steps to normalize sexual contact
    with Annie Farmer, who was then 16 years old. Annie
    first met Epstein on a trip to New York, where she and
    her older sister visited Epstein’s Manhattan town-
    house, and during which Epstein began to groom An-
    nie by stroking her hand and leg while watching a
    movie with her. (Tr.2056-61). In the spring of 1996,
    Annie’s mother, at Epstein’s request, agreed to send
    Annie to Epstein’s ranch in New Mexico for a retreat
    for a group of students who were academically gifted.
    (Tr.2069-70, 2253-55). Annie felt more comfortable go-
    ing once she understood that Maxwell, a grown woman
    in a romantic relationship with Epstein, would be
    there. (Tr.2077).
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        During the New Mexico trip, Maxwell took steps to
    normalize sexual contact under the ruse of massage.
    Maxwell instructed Annie to hold Epstein’s foot and
    showed her how to give Epstein a foot massage.
    (Tr.2083-84). Maxwell then offered to give Annie a
    massage. (Tr.2084-85). After telling Annie to get un-
    dressed, Maxwell gave Annie a massage on a massage
    table while Annie was naked. (Tr.2085). During the
    massage, Maxwell directed Annie to roll over so that
    Annie was laying on her back. (Id.). After Annie com-
    plied and rolled to her back, Maxwell pulled the sheet
    down and exposed Annie’s breasts. (Id.). Then, while
    Annie was naked, Maxwell rubbed Annie’s breasts.
    (Tr.2085-86).
       During this same New Mexico trip, Epstein later
    got into Annie’s bed, cuddled with her, pressed his
    body into her, and rubbed against her. (Tr.2086-87,
    2224). But when Annie managed to extricate herself
    from the situation by running to the bathroom,
    thereby denying Epstein further sexual contact, Max-
    well seemed “very disinterested” in Annie for the re-
    mainder of the trip. (Tr.2086-88).

       4. Sexual Abuse of Virginia Roberts
       Beginning in or about the summer of 2000, Max-
    well and Epstein entered a new phase of their scheme
    to sexually abuse teenage girls. That summer, Max-
    well recruited a 17-year-old girl named Virginia Rob-
    erts from the parking lot of Mar-a-Lago to provide Ep-
    stein with massages. (Tr.840-46). Over the next sev-
    eral months, Virginia was paid to provide Epstein with
    sexualized massages at his Palm Beach residence, in
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    exchange for hundreds of dollars in cash for each mas-
    sage. (Tr.840-46. 1518-24, 1742-46). Virginia also trav-
    eled with Epstein and Maxwell to other locations, in-
    cluding New York and the Virgin Islands, on Epstein’s
    private plane. (Tr.1854-70). Virginia brought other
    teenage girls to Epstein’s Palm Beach house. (Tr.845).
    One of those girls was a 14-year-old girl named Car-
    olyn who Virginia introduced to Maxwell and Epstein
    at the Palm Beach villa in 2001. (Tr.1518-24).

       5. Sexual Abuse of Carolyn
        Carolyn met Maxwell the very first time she went
    to Epstein’s house, and she interacted with Maxwell
    multiple times thereafter. (Tr.1520-21). On Carolyn’s
    first visit to the house, Maxwell greeted Virginia, who
    introduced Carolyn to Maxwell. (Id.). Maxwell then
    told Virginia, “You can bring her upstairs and show
    her what to do,” after which Virginia showed Carolyn
    how to perform a sexual massage on Epstein. (Tr.1521-
    23).
        Thereafter, Carolyn performed over 100 paid sexu-
    alized massages for Epstein when she was between 14
    and 18 years old. (Tr.1525). The vast majority involved
    the same course of abuse through which Epstein mas-
    turbated, touched Carolyn’s breasts and buttocks, and
    directed Carolyn to touch his nipples. (Tr.1545-46).
    Epstein also attempted to touch Carolyn’s vagina with
    a vibrator, brought other females into the room to en-
    gage in oral sex with Carolyn, and raped Carolyn by
    penetrating her vagina with his penis. (Tr.1545-47).
       At first, Maxwell personally scheduled Carolyn’s
    appointments with Epstein, including on phone calls
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    from New York, and sometimes sent a car to pick Car-
    olyn up because she was too young to drive. (Tr.1524,
    1527-32). Maxwell also engaged Carolyn in conversa-
    tions during which Carolyn revealed that she had pre-
    viously been sexually abused by a relative, that her
    parents were separated, and that her mother strug-
    gled with addiction. (Tr.1533-36). Maxwell invited
    Carolyn to travel with Maxwell and Epstein, but Car-
    olyn responded that because she was only 14 years old,
    she would not be able to get permission to travel.
    (Tr.1534-35). Carolyn was paid several hundred dol-
    lars in one-hundred-dollar bills after each massage,
    and Carolyn also received gifts of lingerie from Epstein
    and Maxwell shipped from Manhattan to her home in
    Florida. (Tr.1540-42). Usually, the money was laid out
    on the table or by the sink in the bathroom, but Max-
    well personally paid Carolyn after a few massages.
    (Tr.1540-41).
       Maxwell saw Carolyn fully nude in the massage
    room on approximately three occasions when Carolyn
    had already undressed in preparation for the massage
    but before Epstein entered the room. (Tr.1536-38). On
    one such occasion, when Carolyn was 14 years old,
    Maxwell told Carolyn that she had a nice body and
    touched Carolyn’s breasts. (Id.).
        At some point, Epstein asked Carolyn if she had
    any young friends she could bring for massages.
    (Tr.1544). Carolyn ended up bringing multiple girls to
    Epstein for sexualized massages, including multiple
    minors. (Tr.1544-46, 1753-54). When Carolyn brought
    girls to massage Epstein, both the girl and Carolyn
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    would be paid hundreds of dollars in cash. (Tr.1544-
    45).

       6. Sexual Abuse of Melissa
       One of the minor girls Carolyn brought to provide
    paid sexualized massages to Epstein was a 16-year-old
    named Melissa. (Tr.1753, 1758-61). Melissa went to
    Epstein’s residence to provide Epstein with massages
    on multiple occasions when she was under the age of
    18. (Id.). When Melissa and Carolyn went to the Palm
    Beach house, they remained in the home for about an
    hour and then returned with hundreds of dollars in
    cash. (Id.).

    B. The Defense Case, Verdict, and Sentencing
       Maxwell called nine witnesses in her defense case,
    including former employees and associates, as well as
    an expert on memory. (Tr.2327-2531, 2595-2684).
       On December 29, 2021, the jury found Maxwell
    guilty of Counts One, Three, Four, Five, and Six.
    (A.86).
       On April 1, 2022, Judge Nathan denied Maxwell’s
    motion for a new trial pursuant to Federal Rule of
    Criminal Procedure 33 based on a juror’s provision of
    inaccurate information during jury selection, as dis-
    cussed in greater deal in Point III, infra. (A.318-57).
    On April 29, 2022, Judge Nathan denied all but one of
    Maxwell’s remaining post-trial motions. (A.358-402).
    Judge Nathan found that the three conspiracy counts
    (Counts One, Three, and Five) were multiplicitous and
    that she would, therefore, enter judgment on Count
    Three alone among the conspiracy counts. (Id. at 3).
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       On June 29, 2022, Judge Nathan sentenced Max-
    well to 60 months’ imprisonment on Count Three, 120
    months’ imprisonment on Count Four, and 240
    months’ imprisonment on Count Six, all to run concur-
    rently, to be followed by five years’ supervised release,
    and imposed a $750,000 fine and a $300 mandatory
    special assessment.


                       ARGUMENT

                           POINT I

       The District Court Correctly Concluded That
      Jeffrey Epstein’s Non-Prosecution Agreement
       Does Not Bar Maxwell’s Prosecution in the
              Southern District of New York
       In 2007, the U.S. Attorney’s Office for the Southern
    District of Florida entered into a non-prosecution
    agreement with Jeffrey Epstein. Maxwell argues that
    this agreement, which neither she nor the U.S. Attor-
    ney’s Office for the Southern District of New York
    signed, nevertheless bars her prosecution in the
    Southern District of New York in this case, and she
    twice sought dismissal of the charges in the Indict-
    ment on that ground. The District Court denied the
    motions to dismiss, correctly recognizing that Max-
    well’s argument is precluded by the text of the agree-
    ment and this Court’s longstanding precedent. Accord-
    ingly, this Court should affirm the denial of the mo-
    tions to dismiss.
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    A. Relevant Facts
        In 2005, the Palm Beach Police Department in
    Florida opened an investigation into Epstein on the
    complaint of the parents of a fourteen-year-old girl.
    The Palm Beach Police ultimately brought the investi-
    gation to the Federal Bureau of Investigation in West
    Palm Beach, which in turned opened an investigation
    with the U.S. Attorney’s Office for the Southern Dis-
    trict of Florida (“USAO-SDFL”). (SA3). That investiga-
    tion culminated in a draft sixty-page indictment pro-
    posing to charge Epstein for the sexual abuse of multi-
    ple victims. (SA3).
       In 2007, the USAO-SDFL and Epstein entered into
    a non-prosecution agreement (“NPA”). (A.173). The
    agreement was signed “on the authority of R. Alexan-
    der Acosta, United States Attorney for the Southern
    District of Florida.” (A.175). Under the terms of the
    NPA, Epstein agreed to plead guilty in a pending Flor-
    ida state case and to receive a sentence of at least
    eighteen months’ imprisonment and twelve months’
    community control. (A.176). He also consented to juris-
    diction in the Southern District of Florida for civil suits
    involving victims specified by the USAO-SDFL, among
    other terms. (A.177). In exchange, USAO-SDFL
    agreed to defer “prosecution in this District.” (A.175).
    Once Epstein completed his half of the bargain, the
    NPA provided that “no prosecution” for the offenses
    then under investigation by “the Federal Bureau of In-
    vestigation and the U.S. Attorney’s Office . . . will be
    instituted in this District.” (A.175).
       The NPA also provided that, if Epstein complied
    with the agreement, “the United States also agrees
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    that it will not institute any criminal charges against
    any potential co-conspirators of Epstein, including but
    not limited to” four named individuals, none of whom
    was Maxwell. (A.178). Indeed, Maxwell was neither a
    party to the agreement nor involved in negotiating its
    terms. This provision “appears to have been added
    ‘with little discussion or consideration by the prosecu-
    tors.’ ” (A.140 (citing SA195, 211)). The NPA continues
    that, “upon execution of this agreement, and a plea
    agreement with the State Attorney’s Office, the federal
    Grand Jury investigation will be suspended.” (A.178).
    The agreement was executed on September 24, 2007
    (A.182), and Epstein pleaded guilty in state court on
    June 30, 2008 (SA137). In 2019, the Department of
    Justice Office of Professional Responsibility conducted
    an investigation into the negotiations around the NPA
    and issued a 290-page report containing detailed fac-
    tual findings. (SA1-348).
       After the U.S. Attorney’s Office for the Southern
    District of New York (“USAO-SDNY”) charged Max-
    well in this case in the Southern District of New York,
    she twice moved to dismiss the charges on the ground
    that they were barred by the NPA. The District Court
    denied the motions, concluding that “the NPA does not
    bind the [USAO-SDNY].” (A.140-45, 189-92).

    B. Applicable Law
       This Court has long held that “[a] plea agreement
    binds only the office of the United States Attorney for
    the district in which the plea is entered unless it af-
    firmatively appears that the agreement contemplates
    a broader restriction.” United States v. Annabi, 771
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    F.2d 670, 672 (2d Cir. 1985); accord, e.g., United States
    v. Prisco, 391 F. App’x 920, 921 (2d Cir. 2010); United
    States v. Salameh, 152 F.3d 88, 120 (2d Cir. 1998). The
    requisite affirmative appearance may be established
    by “an express statement” in the plea agreement, or it
    may be “inferred from the negotiations between de-
    fendant and prosecutor, as well as from statements at
    the plea colloquy.” United States v. Russo, 801 F.2d
    624, 626 (2d Cir. 1986).
       This Court reviews de novo both the denial of a mo-
    tion to dismiss an indictment and the interpretation of
    a plea agreement. United States v. Montague, 67 F.4th
    520, 527 (2d Cir. 2023); United States v. Padilla, 186
    F.3d 136, 139 (2d Cir. 1999). This Court reviews for
    abuse of discretion a district court’s denial of an evi-
    dentiary hearing before ruling on a motion to dismiss.
    United States v. Walters, 910 F.3d 11, 22, 28 (2d Cir.
    2018); United States v. Greenberg, 835 F.3d 295, 305
    (2d Cir. 2016).

    C.   Discussion
        The District Court correctly rejected Maxwell’s ar-
    gument that the NPA bars this prosecution. Maxwell
    has no right to invoke the protections of the NPA be-
    cause she is neither a party to nor a third-party bene-
    ficiary of the agreement. But even if Maxwell had
    standing under the NPA, it would not bar this prose-
    cution because it was plainly intended to bind only the
    USAO-SDFL. Thus, Judge Nathan rightly concluded
    that under longstanding Second Circuit precedent, the
    NPA does not bind USAO-SDNY. Accordingly, this
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    Court should affirm the denial of Maxwell’s motions to
    dismiss.

       1. Maxwell Is Not Entitled to Enforce the NPA
        As an initial matter, Maxwell has no right to invoke
    the protections of the NPA. Maxwell was not a signa-
    tory to the agreement. While the third-party benefi-
    ciary doctrine is a tenet of contract law (Br.16), its ap-
    plication to plea agreements under federal law is a sep-
    arate question because plea agreements differ from
    commercial contracts in meaningful respects. United
    States v. Feldman, 939 F.3d 182, 189 (2d Cir. 2019)
    (“We have long recognized that plea agreements are
    significantly different from commercial contracts.”). It
    is doubtful that a third-party beneficiary can enforce a
    plea agreement. See United States v. Lopez, 944 F.2d
    33, 37 (1st Cir. 1991) (observing that “we are unaware
    of authority” supporting application of “third party
    beneficiary principles . . . to a plea agreement in a
    criminal case”); United States v. Mariamma Viju, No.
    15 Cr. 240, 2016 WL 107841, at *4 (N.D. Tex. Jan. 11,
    2016) (explaining that “[t]he right to enforce a plea
    deal does not exist for its own sake; rather, it is a
    means to achieve fairness in plea bargaining,” and “en-
    forcement by third parties adds nothing to protecting
    the defendant’s right”).
       In any event, even under the third-party benefi-
    ciary law on which Maxwell relies (Br.16), she would
    have to show that “the original parties intended the
    [agreement] to directly benefit [her] as [a] third
    part[y].” United States v. Wilson, 216 F.3d 645, 663
    (7th Cir. 2000) (assuming without deciding that third
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    party could enforce immunity agreement); see also
    United States v. Fla. W. Int’l Airways, Inc., 853 F.
    Supp. 2d 1209, 1228 (S.D. Fla. 2012) (third party must
    show that “a direct and primary object of the contract-
    ing parties was to confer a benefit on the third party”
    (quoting Bochese v. Town of Ponce Inlet, 405 F.3d 964,
    982 (11th Cir. 2005))). Here, Maxwell has failed to
    make the requisite showing: she is not named in the
    provision naming four potential co-conspirator
    (A.178), and she has offered no evidence that the par-
    ties to the NPA intended to confer a benefit on her spe-
    cifically. Accordingly, Maxwell may not enforce the
    NPA.

       2. The NPA’s Terms Bind Only the USAO-
          SDFL
        Even if Maxwell had a right to invoke the NPA’s
    protections, it would not bar the charges in this case.
    By its terms, the NPA only applies to prosecutions
    brought by the USAO-SDFL. The agreement was
    signed “on the authority of R. Alexander Acosta,
    United States Attorney for the Southern District of
    Florida.” (A.175). And in exchange for Epstein’s plea in
    state court, the USAO-SDFL agreed to defer “prosecu-
    tion in this District”—that is, the Southern District of
    Florida. (A.175). The USAO-SDFL further promised
    that no prosecution by “the Federal Bureau of Investi-
    gation and the U.S. Attorney’s Office . . . will be insti-
    tuted in this District.” (A.175). An agreement by the
    USAO-SDFL not to prosecute Epstein in the Southern
    District of Florida is an agreement intended to apply
    only to the USAO-SDFL and only in the Southern Dis-
    trict of Florida. Moreover, the agreement was signed
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    by officials of the USAO-SDFL and by no other compo-
    nents of the Department of Justice. Accordingly, the
    plain terms of the NPA make clear that the agreement
    only binds the USAO-SDFL.
        Maxwell’s argument that the NPA binds the
    USAO-SDNY relies on a separate provision of the
    agreement, which says that “the United States also
    agrees that it will not institute any criminal charges
    against any potential co-conspirators of Epstein, in-
    cluding but not limited to” a list of four individuals
    that does not include the defendant (A.178). (Br.15,
    33). But her argument that the term “United States”
    means the entire federal government requires the
    term to be read in isolation. As Judge Nathan ex-
    plained, terms like “the United States” or “the govern-
    ment” are “common shorthand” for a single U.S. Attor-
    ney’s Office, and “a plea agreement need not painstak-
    ingly spell out ‘the Office of the United States Attorney
    for Such-and-Such District’ in every instance to make
    clear that it applies only in the district where signed”
    (A.141). See Salameh, 152 F.3d at 120 (“The mere use
    of the term ‘government’ in the plea agreement does
    not create an affirmative appearance that the agree-
    ment contemplated barring districts other than the
    particular district entering into the agreement.”);
    United States v. Gonzalez, 93 F. App’x 268, 270 (2d Cir.
    2004) (“Although paragraph 12(b) uses the term
    ‘United States’ rather than the term ‘government,’ this
    is a distinction from our prior caselaw without a differ-
    ence.”).
       Reading the NPA as a whole confirms that conclu-
    sion. The very next sentence of the agreement states
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    that “the federal Grand Jury investigation will be sus-
    pended.” (A.178 (emphasis added)). The grand jury in-
    vestigation is the one that USAO-SDFL agreed to de-
    fer in the same agreement (A.175), and not any poten-
    tial federal grand jury investigations in other districts.
    Furthermore, the NPA elsewhere refers to the “United
    States” on occasions that could only mean the USAO-
    SDFL. For instance, the NPA commits the “United
    States”—that is, the USAO-SDFL—to providing Ep-
    stein with a list of victims. (A.177 (“The United States
    shall provide Epstein’s attorneys with a list of individ-
    uals whom it has identified as victims . . . .”)). Another
    provision states that the NPA will not be made part of
    the public record and commits “the United States”—
    again, the USAO-SDFL—to providing notice to Ep-
    stein if it receives a Freedom of Information Act re-
    quest requiring disclosure of the agreement. (A.178).
    The mere fact that the co-conspirator provision of the
    NPA used the phrase “United States” rather than
    “U.S. Attorney’s Office” is not evidence that the parties
    intended an unusually broad immunity provision. See,
    e.g., Kirtsaeng v. John Wiley & Sons, Inc., 568 U.S.
    519, 540 (2013) (“We are not aware, however, of any
    canon of interpretation that forbids interpreting differ-
    ent words used in different parts of the same statute
    to mean roughly the same thing.”). As Judge Nathan
    concluded, given the repeated limitations of the com-
    mitments in the NPA to the USAO-SDFL, including
    the commitment not to prosecute Epstein, “[i]t is not
    plausible . . . that the parties intended to drastically
    expand the agreement’s scope in the single sentence on
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    the prosecution of co-conspirators without clearly say-
    ing so.” (A.142). 3
        Maxwell also points to the NPA provision stating
    that “Epstein seeks to resolve globally his state and
    federal criminal liability.” (A.175). Based on that
    statement, Maxwell argues that Epstein’s purpose in
    negotiating the NPA was to “obtain a global resolution
    that would, among other things, provide maximum
    protection for any alleged co-conspirators.” (Br.34).
    But the cited provision only says that Epstein sought
    to resolve “his” liability, not anyone else’s. Further-
    more, under Maxwell’s reading, Epstein bargained for
    a truly “global” resolution only for his co-conspirators,
    and limited his own “global” resolution expressly to the
    USAO-SDFL. There is no reason to believe that Ep-
    stein expressly sought and obtained broader immunity
    for his co-conspirators than he did for himself. (See
    also SA107 n.125 (observing that a supervisor at the
    USAO-SDFL “pointed out that the NPA was not a
    —————
       3   Maxwell also relies on draft plea agreements
    which “expressly defined the term ‘United States’ as
    limited to” USAO-SDFL. Those plea agreements—
    which differed significantly from the NPA—also use
    both the terms “United States” and “United States At-
    torney’s Office for the Southern District of Florida,” in-
    cluding using the USAO-SDFL term expressly in the
    context of the co-conspirator provision. (See, e.g.,
    Dkt.142, Ex. F at 2). This point only highlights the par-
    ties’ understanding at all times that their negotiations
    merely bound the USAO-SDFL, and not the entire fed-
    eral government.
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    ‘global resolution’ and other co-conspirators could have
    been prosecuted ‘by any other [U.S. Attorney’s] office
    in the country.’ ”)).
        Lacking support in the text of the NPA itself, Max-
    well attempts to show that the NPA applies here based
    on “the negotiations between defendant and prosecu-
    tor.” Russo, 801 F.2d at 626. In particular, Maxwell
    claims that the negotiating history of the NPA shows
    that “[s]enior levels of Main Justice were directly in-
    volved in the negotiation and approval of the NPA,
    even to the extent that separate presentations were
    made to, and approval of the NPA was obtained from,
    the Office of the Deputy Attorney General.” (Br.36).
    This assertion, however, mischaracterizes the record
    and further underscores the absence of any senior ap-
    provals in negotiating the NPA. The pages to which
    Maxwell cites describe activities after the NPA was
    signed, in which Justice Department officials in Wash-
    ington refused to relieve Epstein of his obligations un-
    der the NPA. (Br.36 (citing SA120-23, 129-44); A.143
    (“The OPR report reflects that the Office of the Deputy
    Attorney General reviewed the NPA, but only after it
    was signed when Epstein tried to get out of it.”)). Even
    then, however, those officials did not “approve” the
    NPA. (SA121 (statement by the Assistant Attorney
    General that she “did not review or approve the agree-
    ment either before or after it was signed”), 129 (“The
    Department, however, only reviewed the issue of fed-
    eral jurisdiction and never reviewed the NPA or any
    specific provisions.”)). Maxwell also cobbles together
    instances in which the USAO-SDFL and the FBI in
    Florida enlisted the assistance of other components of
    the federal government or considered acting outside
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    Florida, such as the USAO-SDFL’s “contact with wit-
    nesses in New York.” (Br.38). These disparate and un-
    connected events do not show that the USAO-SDFL
    acted on behalf of the entire federal government when
    entering into the NPA, or that Epstein understood the
    USAO-SDFL to be doing so.
        Maxwell also advances several arguments attempt-
    ing to minimize or side-step this Court’s precedent. For
    example, Maxwell argues that Annabi applies only if
    the charges in the indictment are “sufficiently distinct”
    from the counts resolved by the earlier agreement.
    (Br.30-33 (quoting 771 F.2d at 672)). Not so. The rele-
    vant portion of Annabi concerned an argument by the
    defendants that in seeking to have a plea agreement
    in the Eastern District of New York bar the pending
    charges in the Southern District of New York, they
    were “seeking only the same protection accorded by
    th[e Double Jeopardy] Clause.” 771 F.2d at 672. This
    Court rejected that argument, reasoning that even if
    the Double Jeopardy Clause applied (notwithstanding
    that the defendants were “never in jeopardy” on those
    charges in the Eastern District), the defendants would
    not be entitled to relief because the pending charges
    “extended for an additional two years” and thus were
    “not the same as the charges that were dismissed.” Id.
    Thus, Annabi did not hold that its rule—that “[a] plea
    agreement binds only the office of the United States
    Attorney for the district in which the plea is entered
    unless it affirmatively appears that the agreement
    contemplates a broader restriction,” id.—applies only
    if the charges are sufficiently distinct. And as Judge
    Nathan recognized, “no subsequent Second Circuit
    case applying Annabi has so held.” (A.191).
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        Next, Maxwell argues that this Court should disre-
    gard its own precedents and instead apply Eleventh
    Circuit law because “the NPA was negotiated in Flor-
    ida, with Southern District of Florida prosecutors, in
    exchange for Epstein’s agreement to plead guilty in
    Florida state court.” (Br.25). But this Court has con-
    sistently applied Annabi even when considering plea
    agreements from out-of-Circuit districts. Prisco, 391 F.
    App’x at 921 (District of New Jersey); United States v.
    Ashraf, 320 F. App’x 26, 28 (2d Cir. 2009) (Eastern Dis-
    trict of Virginia); Gonzalez, 93 F. App’x at 270 (District
    of New Mexico). United States v. Brown, No. 99-
    1230(L), 2002 WL 34244994, at *2 (2d Cir. 2004)
    (Southern District of Florida). 4 These decisions are
    consistent with choice-of-law principles in criminal
    cases, where “[t]he governing law is always that of the
    forum state, if the forum court has jurisdiction.” Amer-
    ican Conflicts Law 375 (5th ed. 2021); see 2 Attorney-
    Client Privilege in the United States § 12:10 (“Choice
    of law scholars have long recognized that criminal law
    is peculiarly local in nature, and it is settled that, in
    criminal prosecutions, the court will routinely apply
    the substantive law of the forum.”); American Conflicts
    Law 390 (“[A]s a sort of corollary to the local nature of


    —————
       4    While these are nonprecedential decisions, this
    Court does not lightly depart from prior panels’ sum-
    mary orders. United States v. Payne, 591 F.3d 46, 48
    (2d Cir. 2010) (“[D]enying summary orders preceden-
    tial effect does not mean that the court considers itself
    free to rule differently in similar cases.”).
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    substantive criminal law,” “[p]rocedures in criminal
    cases are always those of the forum.”). 5
        In any event, Eleventh Circuit law would not sup-
    port Maxwell’s claim. Maxwell does not cite any Elev-
    enth Circuit decisions addressing when one U.S. At-
    torney’s Office is bound by a plea agreement with an-
    other U.S. Attorney’s Office. But in an analogous con-
    text, the Eleventh Circuit held that a U.S. Attorney’s
    promise made in a plea agreement—that a criminal
    defendant would not be deported—was unenforceable
    because the U.S. Attorney lacked authority to make
    that promise. San Pedro v. United States, 79 F.3d
    1065, 1072 (11th Cir. 1996). If the Eleventh Circuit
    were to apply the reasoning of San Pedro to the issue
    in this case, it would likely reach the same result be-
    cause a U.S. Attorney only has authority to act “within
    his district,” 28 U.S.C. § 547, and must seek the
    —————
       5    Maxwell cites a handful of district court cases
    that apply the exclusionary rule of a foreign circuit to
    prevent, in her words, “the Government from para-
    chuting into a new circuit and prosecuting a case it
    would not otherwise have been able to bring.” (Br.29).
    This “inter-circuit exclusionary rule,” as Maxwell calls
    it, is hardly a settled doctrine. See American Conflicts
    Law 391-94 (discussing cases in both directions). In
    any event, the purpose of this putative rule is tied to
    its context: “to ensure that the proper level of deter-
    rence is maintained in the locale where the violation
    occurred.” (Br.29 (quoting United States v. Restrepo,
    890 F. Supp. 180, 191 (E.D.N.Y. 1995)). That rationale
    is inapplicable here.
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    approval of each affected U.S. Attorney’s Office before
    entering into any non-prosecution agreement that pur-
    ports to bind another district. See Justice Manual § 9-
    27.641 (“No district or division shall make any agree-
    ment, including any agreement not to prosecute, which
    purports to bind any other district(s) or division with-
    out the approval of the United States Attorney(s) in
    each affected district and/or the appropriate Assistant
    Attorney General.”).
        Finally, Maxwell devotes much of her brief to criti-
    cizing Annabi. (E.g., Br.18-23). But this Court’s rule is
    sound, as it ensures that a criminal defendant (or
    even, as here, a co-conspirator) will not receive the
    windfall of immunity that was never intended by the
    parties to the original agreement, while leaving par-
    ties free to enter into legitimate multi-district resolu-
    tions if they wish. Nor has Maxwell’s parade of horri-
    bles come to pass in the decades since Annabi was de-
    cided. Furthermore, the same rule has long been ap-
    plied in the Seventh Circuit. See Thompson v. United
    States, 431 F. App’x 491, 493 (7th Cir. 2011); United
    States v. Rourke, 74 F.3d 802, 807 n.5 (7th Cir. 1996).
    In any event, this Court need not engage in a point-by-
    point analysis of the merits of Annabi, because it re-
    mains binding precedent. See United States v. Wilker-
    son, 361 F.3d 717, 732 (2d Cir. 2004) (Court is “bound
    by the decisions of prior panels until such time as they
    are overruled either by an en banc panel of our Court
    or by the Supreme Court”).
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       Thus, Epstein’s NPA with the USAO-SDFL does
    not bar this prosecution of Maxwell, and Judge Na-
    than correctly denied the motions to dismiss. 6

       3. The District Court Did Not Abuse Its
          Discretion in Declining to Conduct a
          Hearing
       Finally, Maxwell argues that the District Court
    erred by denying her motions to dismiss without an
    evidentiary hearing. (Br.38-40). But as Judge Nathan
    explained, the cases cited by Maxwell in support of her
    request for a hearing “mostly involved oral agreements
    where there was no written record of the full set of
    terms reached by the parties,” and all of which “in-
    volved defendants with first-hand knowledge of the ne-
    gotiations. . . . This is no such case. The NPA’s terms
    are clear.” (A.145). Furthermore, Maxwell had “an un-
    usually large amount of information about the NPA’s
    negotiation history in the form of the OPR report yet
    —————
       6   Even if the NPA were deemed to apply here, it
    would only cover Count Six, which concerns a victim
    known to USAO-SDFL and a statute mentioned in the
    NPA, and not Counts Three and Four, which concern
    different or additional victims and offenses over an ex-
    panded time period. Maxwell’s suggestion that the co-
    conspirator provision “is not limited to any particular
    offense or any time period” (Br.40) is based on the
    premise that the USAO-SDFL immunized Maxwell for
    any and all crimes, past or future, and highlights the
    unreasonableness of reading the NPA to apply to other
    U.S. Attorney’s Offices.
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    identifies no evidence that the Department of Justice
    made any promises not contained in the NPA.” (A.142-
    43). Here, as below, Maxwell’s further request for a
    hearing “rests on mere conjecture.” (A.145). Judge Na-
    than did not abuse her discretion.

                           POINT II

      The District Court Correctly Concluded that the
                    Charges Were Timely
        In 2003, Congress extended the statute of limita-
    tions for “offense[s] involving the sexual or physical
    abuse” of a minor to allow prosecution so long as the
    victim remains alive. 18 U.S.C. § 3283. Attempting to
    undermine the clear legislative intent, Maxwell argues
    that the amendment did not apply to her case because
    her crimes both pre-dated the amendment and did not
    involve sexual abuse. These arguments fly in the face
    of the statutory text, legislative history, this Court’s
    own decisions, and the persuasive authority of other
    Circuits. The charges fell squarely within the amended
    statute of limitations, and this Court should affirm
    Judge Nathan’s well-reasoned decisions denying Max-
    well’s motions to dismiss the charges as untimely.

    A. Applicable Law

       1. Standard of Review
       This Court reviews de novo both the denial of a mo-
    tion to dismiss an indictment and the application of a
    statute of limitations. United States v. Sampson, 898
    F.3d 270, 276, 278 (2d Cir. 2018).
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       2. Statutes of Limitations for Offenses
          Against Children (18 U.S.C. § 3283) and
          Child Abduction and Sex Offenses (18
          U.S.C. § 3299)
        Most federal noncapital offenses carry a five-year
    statute of limitations. See 18 U.S.C. § 3282(a). In 1990,
    Congress enacted a provision titled, “Extension of
    Child Statute of Limitations,” which provided that
    “[n]o statute of limitation that would otherwise pre-
    clude prosecution for an offense involving the sexual
    or physical abuse of a child under the age of 18 years
    shall preclude such a prosecution before the child
    reaches the age of 25 years.” Crime Control Act of
    1990, Pub. L. No. 101-647, tit. II, § 225(a), 104 Stat.
    4789, 4798 (codified at 18 U.S.C. § 3509(k) (1990)).
    This provision “extended the federal criminal limita-
    tions period for child sex abuse offenses, making it eas-
    ier to prosecute offenders who commit sex crimes that
    may be difficult to detect quickly.” Weingarten v.
    United States, 865 F.3d 48, 54 (2d Cir. 2017). In 1994,
    Congress re-codified this provision, moving it to 18
    U.S.C. § 3283 with identical language. Violent Crime
    Control and Law Enforcement Act of 1994, Pub. L. No.
    103-322, tit. XXXIII, § 330018(a), 108 Stat. 1796, 2149
    (codified at 18 U.S.C. § 3283 (1994)).
       Within a decade, “Congress began to view even the
    extended statute of limitations period in the 1994 ver-
    sion of § 3283 as ‘inadequate in many cases’ because it
    released from criminal liability sex abusers whose
    crimes were not brought to the attention of federal au-
    thorities until after their victims turned twenty-five.”
    Weingarten, 865 F.3d at 54 (citing H.R. Conf. Rep. No.
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    108–66, at 54 (2003)). Accordingly, in 2003, Congress
    enacted a provision titled, “No Statute of Limitations
    for Child Abduction and Sex Crimes,” which amended
    Section 3283 to read: “No statute of limitations that
    would otherwise preclude prosecution for an offense
    involving the sexual or physical abuse, or kidnaping,
    of a child under the age of 18 years shall preclude such
    prosecution during the life of the child.” Prosecutorial
    Remedies and Tools Against the Exploitation of Chil-
    dren Today Act of 2003 (“PROTECT Act”), Pub. L. No.
    108-21, tit. II, § 202, 117 Stat. 650, 660 (codified at 18
    U.S.C. § 3283 (2003)).
       In 2006, Congress enacted a provision titled,
    “Longer Statute of Limitation for Human Trafficking-
    Related Offenses,” and sub-titled “Modification of Stat-
    ute Applicable to Offense Against Children,” which
    further amended Section 3283 to its current form to
    permit the prosecution of such offenses during the life-
    time of the victim or ten years after the offense, which-
    ever is longer. Violence Against Women and Depart-
    ment of Justice Reauthorization Act of 2006, Pub. L.
    No. 109-162, tit. XI, § 1182(c), 119 Stat. 2960, 3126
    (codified at 18 U.S.C. § 3283 (2006)).
        Later in 2006, Congress enacted 18 U.S.C. § 3299
    in a provision titled, “No Limitation for Prosecution of
    Felony Sex Offenses,” which provides that “[n]otwith-
    standing any other law, an indictment may be found
    or an information instituted at any time without limi-
    tation for any offense under section 1201 involving a
    minor victim, and for any felony under chapter 109A,
    110 (except for section 2257 and 2257A), or 117, or sec-
    tion 1591.” Adam Walsh Child Protection and Safety
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    Act of 2006, Pub. L. No. 109-248, tit. II, § 211(1), 120
    Stat. 587, 616 (codified at 18 U.S.C. § 3299 (2006)).

       3. Retroactivity under Landgraf
        In Landgraf v. USI Film Products, 511 U.S. 244
    (1994), the Supreme Court set forth a two-part frame-
    work for determining whether a statute may be ap-
    plied retroactively. At the first step, “if Congress ex-
    pressly prescribed that a statute applies retroactively
    to antecedent conduct, the inquiry ends and the court
    enforces the statute as it is written, save for constitu-
    tional concerns.” Weingarten, 865 F.3d at 54-55. If,
    however, the “statute is ambiguous or contains no ex-
    press command regarding retroactivity,” then the
    court must turn to the second step, where “a reviewing
    court must determine whether applying the statute to
    antecedent conduct would create presumptively im-
    permissible retroactive effects.” Id. at 55. “If it would,
    then the court shall not apply the statute retroactively
    absent clear congressional intent to the contrary.” Id.
    “If it would not, then the court shall apply the statute
    to antecedent conduct.” Id.

    B. Discussion

       1. There Was No Impermissible Retroactivity
          in Applying Section 3283 to Maxwell
       Maxwell claims that the District Court erred by ap-
    plying Section 3283’s 2003 amendment to her three
    counts of conviction, i.e., Counts Three, Four, and Six,
    because they involved conduct that pre-dated the
    amendment. As an initial matter, this argument ig-
    nores the fact that Counts Three and Six both charge
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    continuing offenses that continued into 2004, thus
    post-dating Section 3283’s amendment. Moreover, un-
    der the Landgraf framework, the 2003 amendment
    properly applies to pre-enactment criminal conduct
    that still could have been timely prosecuted at the time
    of the enactment, as was the case here.

           a.     There Was No Retroactivity as to
                  Counts Three and Six
        As an initial matter, Counts Three and Six both
    charged conduct that continued through 2004, i.e., af-
    ter the 2003 amendment to Section 3283, and thus pre-
    sent no retroactivity concerns.
        For conspiracy charges requiring proof of an overt
    act, including 18 U.S.C. § 371, the conspiracy statute
    at issue here, “[t]he statute of limitations runs from
    the date of the last overt act in furtherance of the con-
    spiracy.” United States v. Monaco, 194 F.3d 381, 387
    n.2 (2d Cir. 1999); accord United States v. Ben Zvi, 242
    F.3d 89, 97 (2d Cir. 2001). Similarly, for a continuing
    substantive offense, the statute of limitations only
    “begin[s] to run when the crime is complete,” meaning
    when “the conduct has run its course.” United States
    v. Eppolito, 543 F.3d 25, 46 (2d Cir. 2008).
       Here, the Indictment alleged that the conspiracy
    charged in Count Three and the sex trafficking offense
    charged in Count Six continued through 2004. (A.127,
    132; see also A.123-24, 131-32 (describing conduct
    through 2004 involving Victim-4)). 7 Thus, the statute
    —————
       7  To the extent Maxwell’s argument challenges
    the sufficiency of the evidence rather than the denial
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    of limitations for these two counts did not begin to run
    until 2004, well after Congress enacted the 2003
    amendment to Section 3283. Maxwell’s arguments
    about retroactivity are therefore inapplicable to
    Counts Three and Six.

           b.        Applying Section 3283 to Maxwell
                     Complies with Landgraf
       Furthermore, under the Landgraf framework, the
    2003 amendment to Section 3283 properly applies to
    pre-enactment conduct for which the statute of limita-
    tions had not expired at the time the amendment was
    passed. Because the statute of limitations had not ex-
    pired when Congress amended Section 3283 in 2003,
    that amendment extended the limitations period for
    prosecuting Maxwell, rendering the charges timely.

                i.      Landgraf Step One
       At step one of the Landgraf analysis, the question
    is whether Congress has “expressly prescribed the
    statute’s proper reach.” Landgraf, 511 U.S. at 280.
    When evaluating Congress’s intent at step one, this

    —————
    of the motions to dismiss, see United States v.
    Rutigliano, 790 F.3d 389, 400 (2d Cir. 2015), the evi-
    dence at trial established that Carolyn continued to
    visit Epstein’s residence through 2004. (Tr.1525, 1548-
    49; GX-1B; GX-3D through K; see also SA406-07 (Dis-
    trict Court summarizing such evidence at sentenc-
    ing)).
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    Court has considered both statutory text and legisla-
    tive history. In re Enter. Mort. Acceptance Co. Sec.
    Litig. (“Enterprise”), 391 F.3d 401, 406-08 (2d Cir.
    2004). Here, the text and history of Section 3283 estab-
    lish that Congress intended to extend the time to bring
    charges of child sexual abuse in cases where the limi-
    tations period had not yet expired.
        Prior to 2003, any child sex abuse offense could be
    prosecuted until the victim reached the age of 25 years,
    at which point the statute of limitations then in effect
    would bar prosecution. In the 2003 amendment, which
    was titled, “No Statute of Limitations for Child Abduc-
    tion and Sex Crimes,” Pub. L. No. 108-21, § 202, 117
    Stat. 660, Congress explicitly provided that “[n]o stat-
    ute of limitations that would otherwise preclude pros-
    ecution for [such an offense] shall preclude such pros-
    ecution during the life of the child.” 18 U.S.C. § 3283
    (2003). The amendment draws no distinction between
    pre-enactment and post-enactment conduct. Instead,
    as Judge Nathan explained, by stating that “no statute
    of limitations that would otherwise preclude prosecu-
    tion of these offenses will apply,” the amendment’s
    “plain language unambiguously requires that it apply
    to prosecutions for offenses committed before the date
    of enactment.” (A.151). Thus, the breadth of the text
    shows that Congress intended “to extend the . . . stat-
    ute of limitations,” even for pre-enactment conduct.
    United States v. Jeffries, 405 F.3d 682, 684 (8th Cir.
    2005) (reaching same conclusion as to § 3283’s prede-
    cessor based on similar “title and . . . wording” of stat-
    ute); cf. Enterprise, 391 F.3d at 407 (describing provi-
    sion that “no limitation shall terminate the period
    within which suit may be filed” as example of statute
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    reflecting clear congressional intent to apply to pre-en-
    actment conduct). 8
        Legislative history confirms this conclusion. In ini-
    tially enacting a special statute of limitations for child
    sex abuse offenses, Congress sought to “mak[e] it eas-
    ier to prosecute offenders who commit sex crimes that
    may be difficult to detect quickly.” Weingarten, 865
    F.3d at 54. But that limitations period proved to be “in-
    adequate in many cases.” H.R. Conf. Rep. No. 108-66,
    at 54. Tellingly, the conference report offered the ex-
    ample of a child rapist who “could not be prosecuted”
    because he was “identified . . . as the perpetrator one
    day after the victim turned 25.” Id. Given that Con-
    gress bemoaned those offenders who escaped prosecu-
    tion because the limitations period had expired, there
    is every reason to believe that it intended to preserve
    the ability to prosecute pre-enactment offenders whose
    limitations period had not yet expired. See United
    States v. Sure Chief, 438 F.3d 920, 924 (9th Cir. 2006)
    (concluding that in enacting the 2003 amendment,
    —————
       8    Maxwell’s only response regarding the statute’s
    text is that the words “would” and “shall” are “forward-
    looking.” (Br.54). But those words readily apply in de-
    scribing the application of the 2003 amendment to pre-
    enactment conduct. Consider an offense committed
    against a 16-year-old in the year 2000. The statute of
    limitations then in effect indeed “would . . . preclude
    prosecution” nine years in the future, once the victim
    turned twenty-five. The 2003 amendment ensured
    that “[n]o” such “statute of limitations . . . shall pre-
    clude such prosecution during the life of the child.”
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    “Congress evinced a clear intent to extend” the limita-
    tions period).
        Maxwell notes that Congress “considered—and re-
    jected—a retroactivity clause” before enacting the
    2003 amendment. (Br.55). But as Judge Nathan recog-
    nized, “the legislative history makes clear that Con-
    gress abandoned the retroactivity provision . . . be-
    cause it would have produced unconstitutional re-
    sults.” (A.152 (discussing co-sponsor remarks express-
    ing concern that “the proposed retroactivity provision
    was ‘of doubtful constitutionality’ because it ‘would
    have revived the government’s authority to prosecute
    crimes that were previously time-barred’ ”)). 9 Thus,
    the rejection of the retroactivity clause “shows only
    that Congress intended to limit the PROTECT Act to
    its constitutional applications, including past conduct
    —like Maxwell’s—on which the statute of limitations
    had not yet expired.” (Id.).



    —————
       9   Maxwell contests this explanation of the retro-
    activity clause’s rejection because Stogner v. Califor-
    nia, 539 U.S. 607 (2003), had not yet been decided.
    (Br.56-57). But the co-sponsor could hardly have been
    clearer in expressing his constitutional doubts. And
    the co-sponsor did not need Stogner as a basis for his
    concern, as courts and Congress have long recognized
    the distinction between permissible extensions of un-
    expired statutes of limitations and impermissible ex-
    tensions of expired statutes of limitations. Stogner,
    539 U.S. at 616-18.
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        The reach of the 2003 amendment to Section 3283
    is clear. Because Congress has expressly extended the
    statute of limitations to pre-enactment conduct, Judge
    Nathan correctly resolved this analysis at Landgraf
    step one. In the alternative, however, the statute is—
    at worst—ambiguous. If the Court takes that view, it
    should proceed to Landgraf step two, which examines
    the retroactive effects of the statute.

               ii.    Landgraf Step Two
        As the Supreme Court explained in Landgraf,
    “[e]ven absent specific legislative authorization,” ap-
    plying a statute to pre-enactment conduct “is unques-
    tionably proper in many situations.” 511 U.S. at 273.
    “A statute does not operate ‘retrospectively’ merely be-
    cause it is applied in a case arising from conduct ante-
    dating the statute’s enactment, or upsets expectations
    based in prior law.” Id. at 269. Instead, the question is
    whether the statute “would impair rights a party pos-
    sessed when he acted, increase a party’s liability for
    past conduct, or impose new duties with respect to
    transactions already completed.” Id. at 280. Im-
    portantly, “the fact that a new procedural rule was in-
    stituted after the conduct giving rise to the suit does
    not make application of the rule at trial retroactive,”
    because parties have “diminished reliance interests in
    matters of procedure” and “[b]ecause rules of proce-
    dure regulate secondary rather than primary con-
    duct.” Id. at 275.
       In Vernon v. Cassadaga Valley Cent. School Dist.,
    49 F.3d 886 (2d Cir. 1995), this Court considered a new
    statute of limitations that shortened the time to file
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    certain discrimination claims, and held that applying
    the new statute in a case “filed after its enactment, but
    arising out of events that predate its enactment,” is not
    impermissibly retroactive under Landgraf. Id. at 889-
    90. As the Court explained, “[t]he conduct to which the
    statute of limitations applies is not the primary con-
    duct of the defendants, the alleged discrimination, but
    is instead the secondary conduct of the plaintiffs, the
    filing of their suit.” Id. at 890. The 2003 amendment to
    Section 3283 likewise applies only to the secondary
    conduct of filing a criminal case; it does not apply to
    the primary conduct of Maxwell’s child sexual abuse
    by, for example, modifying the elements of an offense
    to criminalize conduct that previously had not consti-
    tuted a crime. See id. at 891 (“Landgraf and other
    cases countenance treating statutes of limitations dif-
    ferently from statutory provisions that affect substan-
    tive rights.”). Thus, like the new statute in Vernon, the
    2003 amendment “impaired no rights possessed by ei-
    ther party, increased neither party’s liability, nor im-
    posed any new duties with respect to past transac-
    tions.” Id. at 890.
        Enterprise does not alter this conclusion. There,
    this Court considered whether an amended statute of
    limitations operated to “revive already expired securi-
    ties fraud claims.” Enterprise, 391 F.3d at 405. While
    acknowledging that under Vernon, “retroactive appli-
    cation of a revised statute of limitations generally does
    not have an impermissible retroactive effect,” the
    Court concluded that “the resurrection of previously
    time-barred claims has an impermissible retroactive
    effect.” Id. at 409-10 (emphasis removed). Enterprise
    has no application here, as the limitations period for
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    the charges against Maxwell did not expire before the
    statute of limitations was extended. Thus, unlike En-
    terprise, where resurrection of expired claims would
    have “stripp[ed] [defendants] of a complete affirmative
    defense they previously possessed,” id. at 410, here
    Maxwell never possessed that complete defense. Judge
    Nathan correctly concluded that the 2003 amendment
    accordingly “did not deprive [Maxwell] of any vested
    rights.” (A.153).
         To be sure, this Court has observed that there may
    be “colorable arguments” that “the logic of Enterprise
    extends to criminal cases where the defendant’s stat-
    ute of limitations defense had not vested when the lim-
    itations period was extended” because the extension
    “ ‘increases the period of time during which a defend-
    ant can be sued,’ thereby ‘increasing a defendant’s lia-
    bility for past conduct.’ ” Weingarten, 865 F.3d at 57
    (quoting Enterprise, 391 F.3d at 410); see also United
    States v. Miller, 911 F.3d 638, 644-46 (1st Cir. 2018)
    (discussing potential defense arguments). But such a
    claim runs headlong into “the vast weight of retroac-
    tivity decisions,” which recognize that “revoking a
    vested statute of limitations defense is different from
    retroactively extending the filing period for a still-via-
    ble claim.” Weingarten, 865 F.3d at 57 (collecting
    cases).
       For example, “in the criminal context, there is a
    consensus that extending a limitations period before
    prosecution is time-barred does not run afoul of the Ex
    Post Facto Clause of the Constitution.” Cruz v. Maypa,
    773 F.3d 138, 145 (4th Cir. 2014); see also Stogner, 539
    U.S. at 632 (holding that the Ex Post Facto Clause
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    “does not prevent the State from extending time limits
    for . . . prosecutions not yet time barred”). As this Court
    explained long ago, while it is “unfair and dishonest”
    for the government to “assure a man that he has be-
    come safe from its pursuit” but then “withdraw its as-
    surance,” it is permissible to extend a statute of limi-
    tations “while the chase is on.” Falter v. United States,
    23 F.2d 420, 426 (2d Cir. 1928) (L. Hand, J.). These ex
    post facto cases are particularly instructive here be-
    cause “Landgraf and the Ex Post Facto Clause are in-
    formed by the same retroactivity concerns.” Cruz, 773
    F.3d at 145; see also Landgraf, 511 U.S. at 266 (citing
    the Ex Post Facto Clause as an “expression” of “the an-
    tiretroactivity principle” it was applying).
       Thus, applying the Section 3283’s 2003 amendment
    to Maxwell’s unexpired charges is permissible under
    Landgraf. As the Tenth Circuit recently explained
    with respect to the very same statute of limitations at
    issue here:
           By extending the unexpired statute of
           limitations, Congress did not increase
           [defendant’s] exposure to prosecution ret-
           roactively. It did not raise the penalty for
           the charged offense. It did not redefine
           the offense to make it easier to establish.
           It did not expose [defendant] to criminal
           prosecution anew. It merely altered the
           ongoing charging period for the conduct
           that had already exposed him to criminal
           prosecution. [Defendant] was subject to
           indictment in 2002, before the statutes of
           limitations were extended, and he
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          remained subject to indictment in 2007,
          once the changes were made. A dead
          charge was not resurrected, and the un-
          derlying nature of [defendant’s] potential
          criminal liability remained the same.
    United States v. Piette, 45 F.4th 1142, 1161-62 (10th
    Cir. 2022). The decisions of other Courts of Appeals are
    in accord. Sure Chief, 438 F.3d at 922-25; Jeffries, 405
    F.3d at 685.
        Maxwell cites United States v. Richardson, 512
    F.2d 105 (3d Cir. 1975), and two district court deci-
    sions that are bound to follow it. (Br.58-59). But Rich-
    ardson, which was decided before Landgraf, is “incon-
    sistent with Landgraf.” United States v. Nader, 425 F.
    Supp. 3d 619, 630 (E.D. Va. 2019). Specifically, Rich-
    ardson focused on whether Congress expressed a
    “clear intention” to overcome the presumption against
    retroactivity, 512 F.2d at 106, without engaging in
    Landgraf ’s second step, i.e., considering whether the
    statute “would have retroactive effect,” Landgraf, 511
    U.S. at 280. Moreover, unlike the 2003 amendment,
    the statute at issue in Richardson did not expressly
    provide that “[n]o statute of limitations that would
    otherwise preclude prosecution” of the relevant offense
    “shall preclude” prosecution under the terms of the
    amended statute.
       In sum, the statute of limitations for the charges in
    the Indictment had not yet expired when the 2003
    amendment to Section 3283 extended the limitations
    period, and Judge Nathan correctly determined that
    applying the 2003 amendment in this case does not
    create impermissible retroactive effects. Therefore,
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    step two of Landgraf is satisfied, and Section 3283 ap-
    plies retroactively. See Weingarten, 865 F.3d at 55 (“If
    [a statute] would not [create impermissible retroactive
    effects], then the court shall apply the statute to ante-
    cedent conduct.”). Accordingly, the charges were
    timely. 10

       2. Section 3283 Reaches Counts Three and
          Four
        Maxwell separately argues that Section 3283 does
    not apply to Counts Three and Four because neither is
    an “offense involving the sexual or physical abuse . . .
    of a child.” Maxwell contends that these counts, which
    charged her with transporting a minor with intent
    that the minor engage in illegal sexual activity and
    conspiracy to do the same, are not offenses involving
    the sexual abuse of a child because a completed sex act
    is not an essential element of either charge. But Max-
    well does not dispute that the evidence at trial estab-
    lished that her commission of Counts Three and Four
    involved completed sex acts abusing one or more minor
    victims. Nor could she, as Jane testified that she was
    —————
       10  As the Government argued below, and as Judge
    Nathan found, Count Six is also timely under 18
    U.S.C. § 3299, which eliminated the statute of limita-
    tions for violations of 18 U.S.C. § 1591 in 2006, and
    which also applies retroactively under Landgraf for
    the same reasons discussed above with respect to Sec-
    tion 3283. (A.196 (concluding that, “like § 3283, § 3299
    applies retroactively to offenses for which the previous
    limitations period has not yet run”)).
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    in fact sexually abused when transported across state
    lines, including to New York, as a minor. Instead, Max-
    well insists that Counts Three and Four do not involve
    sexual abuse of a child because a completed sex act is
    not an element of those crimes. This argument mis-
    reads the relevant statutes and legislative history, and
    runs contrary to the decisions of this Court and other
    Courts of Appeals. 11

            a.     Counts Three and Four Are Offenses
                   Involving the Sexual Abuse of a
                   Child
          Maxwell’s entire argument is based on a mistaken
    premise: that the phrase “offense involving the sexual
    . . . abuse . . . of a child,” 18 U.S.C. § 3283, only encom-
    passes crimes in which “unlawful sexual activity actu-
    ally took place.” (Br.44). This flawed proposition ig-
    nores relevant statutory definitions, which make clear
    that Section 3283 reaches more broadly to include of-
    fenses in which there was no completed illegal sex act.
       As described above, Section 3283 was originally
    codified at 18 U.S.C. § 3509(k). The definition of the
    term “sexual abuse” is located within that same sec-
    tion:
            For purposes of this section . . . the term
            ‘sexual abuse’ includes the employment,
            use, persuasion, inducement, enticement,

    —————
       11  Maxwell raises no analogous argument with re-
    spect to Count Six, which charges sex trafficking of a
    minor, in violation of 18 U.S.C. § 1591.
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           or coercion of a child to engage in, or as-
           sist another person to engage in, sexually
           explicit conduct or the rape, molestation,
           prostitution, or other form of sexual ex-
           ploitation of children, or incest with chil-
           dren.
    18 U.S.C. § 3509(a)(8). The term “sexually explicit con-
    duct” is in turn defined to mean, among other things,
    “sexual intercourse, including sexual contact”; and the
    term “sexual contact” means “the intentional touching,
    either directly or through clothing, of the genitalia,
    anus, groin, breast, inner thigh, or buttocks of any per-
    son with an intent to abuse, humiliate, harass, de-
    grade, or arouse or gratify sexual desire of any person.”
    Id. § 3509(a)(9)(A). Courts have looked to the defini-
    tion of “sexual abuse” set forth in Section 3509(a) to
    determine whether the statute of limitations of Section
    3283 applies to an offense. United States v. Carpenter,
    680 F.3d 1101, 1103-04 (9th Cir. 2012) (“We join our
    sister circuits in looking to subsection 3509(a) for a def-
    inition of ‘sexual abuse’ under federal law, and find it
    the appropriate definition to use in applying section
    3283’s extended statute of limitations.”).
        The definition of “sexual abuse” includes not only
    actual “sexual contact,” but also the “the employment,
    use, persuasion, inducement, enticement, or coercion
    of a child to engage in, or assist another person to en-
    gage in,” sexual contact. 18 U.S.C. § 3509(a). The
    breadth of this definition is underscored by Congress’s
    use of the word “includes” in Section 3509(a)’s text,
    which is “significant because it makes clear that the
    examples enumerated in the text are intended to be
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    illustrative,   not    exhaustive.”   Christopher     v.
    SmithKline Beecham Corp., 567 U.S. 142, 162 (2012)
    (citing Burgess v. United States, 552 U.S. 124, 131 n.3
    (2008)). And the text of Section 3283 goes even further
    beyond the definition provided in Section 3509 by cov-
    ering any crime “involving” the sexual abuse of a child.
    Congress therefore did not require that a particular
    statute have actual sexual contact with a minor as an
    element of its offense, but rather swept broadly to
    cover any crime that in any way involves sexual abuse
    as broadly defined. Given this expansive language,
    sexual abuse “as defined here encompasses a wider set
    of behavior than just rape or other unwanted sexual
    touching.” United States v. Schneider, 801 F.3d 186,
    197 (3d Cir. 2015). Thus, courts throughout the coun-
    try have concluded that Section 3283 applies to a vari-
    ety of offenses that do not require “a sexual act be-
    tween a defendant and a specific child,” United States
    v. Vickers, No. 13 Cr. 128 (RJA), 2014 WL 1838255, at
    *11 (W.D.N.Y. May 8, 2014), or “physical contact with
    the victim,” Carpenter, 680 F.3d at 1103; accord
    United States v. Diehl, 775 F.3d 714, 720 (5th Cir.
    2015).
        Section 3283’s definition thus captures crimes of in-
    tent where a perpetrator seeks to have a minor engage
    in sexual contact even if such sexual contact does not
    occur. Transportation of a minor with intent to engage
    in an illegal sex act (as charged in Count Four) and
    conspiracy to commit the same (as charged in Count
    Three) fall comfortably within that definition. Even
    though a completed sex act is not required to commit
    those two crimes, Count Four has “sexual abuse” as an
    element because it requires the defendant to
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    “induce[ ]” a child to engage in illegal sexual activity
    by transporting the minor across state lines with in-
    tent that the child engage in an illegal sex act, 18
    U.S.C. § 3509(a)(8), and Count Three, as a conspiracy
    to commit Count Four, is an “offense involving [such]
    sexual . . . abuse,” id. § 3283. See United States v.
    Sensi, No. 08 Cr. 253 (WWE), 2010 WL 2351484, at *2-
    3 (D. Conn. June 7, 2010) (collecting cases interpreting
    the term “sexual abuse” to encompass “all crimes that
    would logically relate to the common understanding of
    sexual abuse even when found in chapters 110 (‘Sexual
    Exploitation and Other Abuse of Children’) and 117
    (‘Transportation of Illegal Sexual Activity and Related
    Crimes’) of title 18”); Schneider, 801 F.3d at 196-97
    (holding that Section 3283 applied to defendant con-
    victed of traveling with the purpose of engaging in sex
    with a minor victim, in violation of 18 U.S.C.
    § 2423(b)).
       Accordingly, even considering only the elements of
    the offenses, Counts Three and Four fall squarely
    within Section 3283’s definition of an offense involving
    sexual abuse of a child.

           b.     Maxwell’s Argument for Use of a
                  Categorical Approach Lacks Merit
        Because Counts Three and Four qualify as “of-
    fense[s] involving the sexual . . . abuse . . . of a child,”
    18 U.S.C. § 3283, even without resort to the facts of the
    case, the Court need not address Maxwell’s claim that
    the categorical approach applies in this context. But
    the arguments Maxwell advances in support of her
    claim are meritless in any event.
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        Maxwell first relies on Section 3283’s use of the
    phrase “offense involving” the sexual abuse of a child,
    which, she contends, “dictates” looking only to the ele-
    ments of the offense. (Br.43). But as this Court has al-
    ready recognized, Section 3283’s text “reaches beyond
    the offense and its legal elements to the conduct ‘in-
    volv[ed]’ in the offense”—a “linguistic expansion” that
    shows Congress’s intent for “courts to look beyond the
    bare legal charges in deciding whether § 3283 ap-
    plied.” Weingarten, 865 F.3d at 59-60; see also Nijha-
    wan v. Holder, 557 U.S. 29, 32, 38 (2009) (holding that
    a statute that includes an “offense . . . involves” phrase
    is “consistent with a circumstance-specific approach”).
    Indeed, the Third Circuit has expressly rejected an
    “ ‘essential ingredient’ test” comparable to the categor-
    ical approach and instead applied case-specific analy-
    sis to determine that Section 3283 applied to travel
    with intent to commit an illegal sex act with a minor,
    in violation of 18 U.S.C. § 2423(b). Schneider, 801 F.3d
    at 196-97.
        Maxwell also argues that “the clear weight of au-
    thority” holds that statutes employing similar lan-
    guage “should be read through a categorical rather
    than case-specific lens.” (Br.44-45). But the decisions
    she cites involved statutes with other features favoring
    the categorical approach, which are notably absent
    here. Some cases involved statutes that defined a
    “crime of violence” as an offense that either “has as an
    element” the use of physical force or “by its nature” in-
    volves a substantial risk of force—language that in-
    vokes an elements-based approach. United States v.
    Davis, 139 S. Ct. 2319, 2328-29 (2019); Leocal v. Ash-
    croft, 543 U.S. 1, 7 (2004). Some cases concerned the
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    definition of an “aggravated felony” under federal im-
    migration law, Kawashima v. Holder, 565 U.S. 478
    (2012); Leocal, 543 U.S. at 7, a context in which the
    categorical approach traditionally applies because the
    inquiry is whether the alien’s prior conviction meets
    the definition. Weingarten, 865 F.3d at 59. And United
    States v. Morgan, 393 F.3d 192 (D.C. Cir. 2004), is like-
    wise distinguishable, as it “involved a venue statute
    presenting significantly different concerns” than those
    present here. (A.148).
        Maxwell also relies on a trio of cases, chief among
    them Bridges v. United States, 346 U.S. 209 (1953).
    (Br.45-47). In Bridges, the Supreme Court “applied an
    ‘essential ingredient’ test to determine whether an of-
    fense qualified for a provision . . . that extended the
    criminal limitations period for certain fraud offenses.”
    Weingarten, 865 F.3d at 59 n.10. But as this Court has
    explained, “Bridges is distinguishable” because the Su-
    preme Court “there believed applying the restrictive
    ‘essential ingredient’ test to determine if an offense ‘in-
    volv[ed] the defrauding of the United States’ effectu-
    ated Congress’s specific intent to limit the . . . extended
    limitations period to only a few offenses,” while “Con-
    gress had the opposite intention for § 3283.” Id. The
    other two cases, United States v. Scharton, 285 U.S.
    518 (1932), and United States v. Noveck, 271 U.S. 201
    (1926), are distinguishable on similar grounds. In any
    event, the “essential ingredient” test does not help
    Maxwell. As discussed above, an “offense involving the
    sexual . . . abuse . . . of a child,” 18 U.S.C. § 3283, must
    be read in light of the definition of “sexual abuse” set
    forth in Section 3509(a), which encompasses a wide
    range of conduct that is not limited to actual sexual
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    contact with a child. Counts Three and Four each have
    an “essential ingredient” that fits within that broad
    definition. See supra Point II.B.2.a.
        Finally, neither Diehl nor United States v. Coun-
    tentos, 651 F.3d 809 (8th Cir. 2011), supports the use
    of a categorical approach. (Br.51-52). In each decision,
    the court concluded that Section 3283 applied to the
    subject offenses without considering the specific facts
    of the crime, but in neither case did the court consider
    whether a categorical approach was required—let
    alone hold that it was.
       As noted above, it is undisputed that the evidence
    at trial established that Maxwell’s commission of
    Counts Three and Four involved completed sex acts
    abusing one or more minor victims: Jane testified that
    she was in fact sexually abused when transported
    across state lines, including to New York, as a minor.
    Accordingly, Counts Three and Four qualify as of-
    fenses involving the sexual abuse of a child both by
    their statutory terms and based on the specific facts of
    this case.

                          POINT III

     The District Court Did Not Abuse Its Discretion in
       Concluding that Juror 50 Could Be Fair and
       Impartial Notwithstanding His Inadvertent
          Mistakes on His Juror Questionnaire
        Maxwell contends that she was denied her right to
    a fair and impartial jury because a juror failed to dis-
    close during voir dire that he was sexually abused as a
    child, and therefore incorrectly answered three
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    questions on his written questionnaire. After an exten-
    sive hearing, Judge Nathan concluded that the juror’s
    error was inadvertent, and in any event, she would not
    have struck the juror for cause had he answered those
    question accurately because he was not biased in any
    way against Maxwell and was qualified to serve as a
    juror. Judge Nathan therefore found that Maxwell
    failed to meet the high bar for a new trial and denied
    her motion. This Court should affirm that careful de-
    termination.

    A. Relevant Facts

       1. The Jury Selection Process
        In November 2021, in advance of trial, 694 jurors
    completed a juror questionnaire approved by the Dis-
    trict Court. (Dkt.529 at 2). The juror questionnaire
    was 29 pages and consisted of 51 questions, many of
    which contained subparts. (A.290-317). After the par-
    ties reviewed the questionnaires, 231 of the 694 pro-
    ceeded to voir dire. (Dkt.529 at 2-4). The District Court
    then examined prospective jurors, asking them about
    questions in the jury questionnaire that prospective
    jurors had answered affirmatively. The District Court
    asked the prospective jurors whether the information
    or experiences resulting in the affirmative answer
    would interfere with their ability to be fair and impar-
    tial.
       At the conclusion of voir dire, the District Court
    qualified 58 jurors. (Voir Dire Tr.717). Of the 58 indi-
    viduals who were qualified to serve as jurors, eight in-
    dividuals responded to Question 48 of the juror ques-
    tionnaire that they themselves had been a victim of
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    sexual harassment, sexual abuse, or sexual assault,
    and that this experience would not affect their ability
    to serve fairly and impartially as a juror in the case. 12
    (A.344-45; Voir Dire Tr.18, 52, 200, 207, 259, 293, 532,
    538-39, 635). Each confirmed that he or she could be
    fair and impartial, and defense counsel did not move
    to strike any these jurors for cause based on their answer
    to Question 48. (A.345).
        For instance, one juror said that she was “sexually
    molested by an uncle when she was 12 or 13,” but that
    would not affect her ability to be fair and impartial in
    the case. (A.345). Another juror indicated that she had
    recently “reported that a friend was being coerced and
    sexually abused by a professor,” but confirmed that ex-
    perience would not “in any way interfere with her abil-
    ity to be fair and impartial” in this case. (Id.). Neither
    the Government nor defense counsel challenged those
    jurors for cause.
        The parties then exercised their peremptory
    strikes, and a jury was seated.

       2. Juror 50
       Juror 50 completed the questionnaire and was
    questioned by Judge Nathan during voir dire. In his
    questionnaire, Juror 50 repeatedly made clear that he
    could be fair and impartial. In response to Question 13,

    —————
       12  Twelve of the 58 qualified prospective jurors in-
    dicated that a friend or family member had been a vic-
    tim of sexual harassment, sexual abuse, or sexual as-
    sault.
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    he indicated that he could decide the case “based solely
    on the evidence or lack of evidence presented in Court,
    and not on the basis of conjecture, suspicion, bias, sym-
    pathy, or prejudice.” (A.295). He also accepted the
    principle that the law provides that a defendant in a
    criminal case is presumed innocent and the Govern-
    ment is required to prove guilt beyond a reasonable
    doubt. (A.294). Juror 50 indicated that there was noth-
    ing about the nature of the case and the accusations as
    summarized in the questionnaire that might make it
    difficult for him to be fair and impartial. (A.308; see
    also A.310). He repeated these assurances at oral voir
    dire. (See Voir Dire Tr.128-34).
       Juror 50 checked the “no” box in response to Ques-
    tion 48, which asked whether he or a friend or family
    member had ever been the victim of sexual harass-
    ment, sexual abuse, or sexual assault. (A.310). He also
    checked the “no” box in response to the question of
    whether he or any of his relatives or close friends had
    ever been a victim of a crime. (A.299).
       Juror 50 was seated. Following the verdict, he dis-
    cussed his experience as a juror during interviews with
    multiple journalists. During these interviews, Juror 50
    stated that he was a survivor of childhood sexual
    abuse, which he did not disclose until high school, and
    that his experience of sexual abuse did not affect his
    ability to view Maxwell as innocent until proven
    guilty. (A.249). He also stated that he did not recall the
    details of the juror questionnaire, which he “flew
    through,” but he believed he answered the questions
    honestly. (A.245, 262).
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       3. The Hearing
        Following these reports, the Government filed a let-
    ter highlighting Juror 50’s public statements and re-
    questing that the District Court conduct a hearing.
    (Dkt.568). After briefing, Judge Nathan ordered a lim-
    ited hearing focused on Juror 50’s “potential failure to
    respond truthfully to questions during the jury selec-
    tion process that asked for that material information.”
    (A.240; SA350). Judge Nathan denied Maxwell’s re-
    quest to directly question Juror 50, which was “com-
    mitted to [her] sound discretion,” but permitted the
    parties to propose questions in advance of the hearing.
    (SA364 (quoting United States v. Moten, 582 F.2d 654,
    667 (2d Cir. 1978)). The parties did so—and Maxwell
    submitted a letter renewing her request to question
    Juror 50 directly and proposing twenty-one pages of
    questions on topics including the nature and length of
    Juror 50’s sexual abuse, the nature of the sexual abuse
    experienced by any of Juror 50’s family or friends, his
    own employment responsibilities, the impact of his
    sexual abuse on his life and personal relationships,
    whether Juror 50 ever sought mental health counsel-
    ing or spoke with a therapist, how he came to give me-
    dia interviews, and whether he was attempting to be
    viewed as a “champion of victims of sexual abuse.”
    (Dkt.636).
       The District Court held a hearing on March 8, 2022,
    at which Juror 50 testified under a grant of immunity.
    Juror 50 testified that his answers to three questions
    were not accurate: Questions 25 (whether he or a close
    associate had been a victim of a crime), 48 (whether he
    or a friend or family member had been a victim of
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    sexual harassment or abuse), and 49 (whether he or a
    friend or family member had been accused of sexual
    harassment or abuse). He explained that, when he was
    nine or ten years old, he was sexually abused by a step-
    brother, who he no longer considered part of the fam-
    ily, and the stepbrother’s friend. He explained that he
    answered Question 49 “no” because he no longer con-
    sidered the stepbrother part of his family, although he
    should have answered “yes.” He also acknowledged
    that he should have answered “yes” to Question 25 be-
    cause he was a crime victim, although he read the
    question at the time to inquire about robbery, mug-
    ging, or similar crimes. (A.267-68).
        Juror 50 also testified that his failure to disclose
    this experience was an inadvertent mistake. He ex-
    plained that he “completely skimmed way too fast”
    when completing the questionnaire. (A.270-71). He did
    so, he explained, in light of the context: he started the
    questionnaire after several hours’ waiting in security
    lines and after technical issues with the instructions.
    He was preoccupied with his own recent romantic
    breakup and with disruptions in the jury room. And he
    rushed to complete his questionnaire because he
    thought it virtually impossible that he would be se-
    lected as a juror given the number of people complet-
    ing the questionnaire. He did not generally think
    about his personal history of sexual abuse, and it did
    not occur to him while carelessly speeding through the
    questionnaire. (A.269-72).
       At oral voir dire, Juror 50 had not been asked the
    questions Judge Nathan posed to prospective jurors
    who answered affirmatively to questions 25, 48, or 49,
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    and therefore was not asked any questions about sex-
    ual abuse. At the hearing, Judge Nathan examined Ju-
    ror 50 in detail, and Juror 50 emphasized that his ex-
    periences did not affect his ability to be fair and impar-
    tial, his ability to fairly assess the credibility of victim-
    witnesses, or his ability to impartially judge Maxwell’s
    guilt. (A.268, 270, 276-77).

       4. The District Court’s Decision
        Judge Nathan denied Maxwell’s motion for a new
    trial in a detailed written opinion. (A.318). First,
    Judge Nathan concluded that Juror 50’s answers were
    not deliberately inaccurate, crediting Juror 50’s testi-
    mony in light of his demeanor and consistent, logical
    answers to her questions. (A.333-35). Second, Judge
    Nathan concluded that she would not have granted a
    for-cause challenge to Juror 50 had he provided accu-
    rate information. At the hearing, Judge Nathan asked
    Juror 50 the questions she asked other jurors who in-
    dicated a personal experience with sexual assault or
    abuse. She concluded that “Juror 50’s credible re-
    sponses [to those questions] under oath at the hearing
    established that he would not have been struck for
    cause if he had provided accurate responses to the
    questionnaire.” (A.340). As Judge Nathan explained,
    other jurors who answered the questions similarly
    were not even challenged for cause, and she would not
    have granted a challenge had one been made. (A.344-
    45). She also rejected the notion that mere similarities
    between Juror 50’s life experiences and the issues at
    trial required her to excuse Juror 50 for cause. (A.346).
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    B. Applicable Law
        Federal Rule of Criminal Procedure 33(a) permits
    a district court to “vacate any judgment and grant a
    new trial if the interest of justice so requires.” As this
    Court has explained, “[t]he defendant bears the bur-
    den of proving that he is entitled to a new trial under
    Rule 33, and before ordering a new trial pursuant to
    Rule 33, a district court must find that there is a real
    concern that an innocent person may have been con-
    victed.” United States v. McCourty, 562 F.3d 458, 475
    (2d Cir. 2009).
        Post-verdict inquiries into juror conduct are
    strongly disfavored. Such inquiries “seriously disrupt
    the finality of the process.” Tanner v. United States,
    483 U.S. 107, 120-21 (1987). Permitting “post-verdict
    scrutiny of juror conduct” would undermine pillars
    that undergird the jury trial right, including “full and
    frank discussion in the jury room, jurors’ willingness
    to return an unpopular verdict, and the community’s
    trust in a system that relies on the decisions of laypeo-
    ple.” Id. Such inquiries may instead “lead to evil con-
    sequences: subjecting juries to harassment, inhibiting
    juryroom deliberation, burdening courts with merit-
    less applications, increasing temptation for jury tam-
    pering and creating uncertainty in jury verdicts.”
    United States v. Ianniello, 866 F.2d 540, 543 (2d Cir.
    1989).
       Accordingly, a defendant seeking Rule 33 relief
    based on alleged juror misrepresentations during voir
    dire must satisfy a stringent two-part test. First, a
    party must “demonstrate that a juror failed to answer
    honestly a material question on voir dire.” McDonough
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    Power Equip., Inc. v. Greenwood, 464 U.S. 548, 556
    (1984). Second, the party must show “that a correct re-
    sponse would have provided a valid basis for a chal-
    lenge for cause.” Id. To satisfy this prong, a court must
    determine whether, if the juror had answered truth-
    fully, it would have granted a hypothetical strike for
    cause. United States v. Stewart, 433 F.3d 273, 304 (2d
    Cir. 2006).
        A party may challenge a juror for cause based only
    on “narrowly specified, provable and legally cognizable
    bases.” United States v. Torres, 128 F.3d 38, 43 (2d Cir.
    1997). In the context of voir dire, challenges for cause
    generally fall into one of three “limited” categories: ac-
    tual bias, implied bias, or inferable bias. Id. “Actual
    bias is bias in fact—the existence of a state of mind
    that leads to an inference that the person will not act
    with entire impartiality.” Id. Implied bias, also called
    “presumed bias,” is “bias conclusively presumed as a
    matter of law.” Id. at 45. This Court has emphasized
    that this category is “narrow,” and “reserved for ‘ex-
    ceptional situations,’ ” generally meaning circum-
    stances in which jurors “are related to the parties” or
    “were victims of the alleged crime itself.” Id. at 45-46.
    Finally, “[b]ias may be inferred when a juror discloses
    a fact that bespeaks a risk of partiality sufficiently sig-
    nificant to warrant granting the trial judge discretion
    to excuse the juror for cause, but not so great as to
    make mandatory a presumption of bias.” Id. at 46-47.
       Where there are concrete allegations of juror mis-
    conduct, a court may conduct a post-verdict hearing.
    See United States v. Baker, 899 F.3d 123, 130 (2d Cir.
    2018). The inquiry “should be limited to only what is
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    absolutely necessary to determine the facts with preci-
    sion.” Ianniello, 866 F.2d at 544. “[T]he proper func-
    tioning of the jury system requires that the courts pro-
    tect jurors from being harassed and beset by the de-
    feated party in an effort to secure from them evidence
    of facts which might establish misconduct sufficient to
    set aside a verdict.” Moten, 582 F.2d at 664. Accord-
    ingly, the district court “has the power and the duty to
    supervise and closely control such inquiries.” United
    States v. Calbas, 821 F.2d 887, 896 (2d Cir. 1987). For
    example, the district court may choose to personally
    conduct the questioning of a juror in order to avoid in-
    truding on the jury’s deliberations. See, e.g., Calbas,
    821 F.2d at 896. At such a hearing, and with limited
    exceptions, the juror “may not testify about any state-
    ment made or incident that occurred during the jury’s
    deliberations; the effect of anything on that juror’s or
    another juror’s vote; or any juror’s mental processes
    concerning the verdict or indictment. The court may
    not receive a juror’s affidavit or evidence of a juror’s
    statement on these matters.” Fed. R. Evid. 606(b)(1).
          This Court reviews the denial of a Rule 33 motion
    for abuse of discretion. United States v. Archer, 977
    F.3d 181, 187 (2d Cir. 2020). A district court only
    abuses its discretion if its decision “rests on an error of
    law (such as application of the wrong legal principle)
    or a clearly erroneous factual finding” or “its decision
    . . . cannot be located within the range of permissible
    decisions.” Id. This Court “has only on rare occasions
    overturned a verdict or remanded for an evidentiary
    hearing” based on the failure of a juror to disclose in-
    formation during jury selection. United States v. Te-
    man, 465 F. Supp. 3d 277, 330 (S.D.N.Y. 2020).
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    C.   Discussion
        Judge Nathan conducted a thorough inquiry and
    determined that Juror 50’s inadvertent errors on the
    jury questionnaire did not undermine Maxwell’s right
    to a fair trial. Maxwell does not meaningfully engage
    with Judge Nathan’s careful opinion, instead suggest-
    ing that Juror 50’s testimony at the hearing was “pa-
    tently absurd.” (Br.63). These conclusory arguments
    fall far short of establishing that Judge Nathan abused
    her discretion in finding that this case does not present
    the extraordinary circumstances that justify overturn-
    ing a jury’s verdict based on an error during voir dire.
        Maxwell’s claim fails at the first step of
    McDonough because Juror 50’s errors were inadvert-
    ent. Juror 50 testified as much at the hearing, provid-
    ing a detailed narrative of why his errors were a fail-
    ure of diligence as he rushed through the question-
    naire while distracted. (A.333-34). Judge Nathan cred-
    ited this explanation in light of his demeanor, which
    she “closely observe[d]” as he testified, including dur-
    ing his answers to questions “he appeared not to ex-
    pect.” (A.333). She explained that his answers were
    “logical explanations and generally internally con-
    sistent,” given in a “calm and straightforward man-
    ner.” (Id.). Juror 50’s explanations were consistent
    with “his sworn statements months earlier at oral voir
    dire” and his testimony that “his sexual abuse history
    was not salient or [a] front-of mind consideration.”
    (Id.). Judge Nathan also noted that Juror 50’s answers
    aligned with his incentives: by testifying under a grant
    of immunity, he could not be prosecuted for his false
    answers on the questionnaire, but he could be
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    prosecuted for false testimony at the hearing (id.), and
    had he hidden his sexual abuse in order to get on the
    jury, he would not have immediately disclosed it to the
    media after trial (A.335). To the contrary, in one video
    interview with the media, Juror 50 “appears genuinely
    and completely surprised to learn that the question-
    naire” asked about his history of sexual abuse. (Id.).
       Maxwell does not directly challenge Judge Na-
    than’s factual findings on this point, much less demon-
    strate that they are clearly erroneous. Instead, relying
    on United States v. Langford, 990 F.2d 65, 68 (2d Cir.
    1993), Maxwell argues that McDonough’s first step is
    satisfied by any falsehood, deliberate or otherwise.
    (Br.66).
        This argument misses the mark. This prong re-
    quires a showing of deliberate dishonesty by the juror,
    rather than mere honest mistake. This Court has ex-
    plained that, in McDonough, the Supreme Court
    “found that the juror’s good faith failure to respond,
    though mistaken, did not satisfy even the first prong
    of the test.” United States v. Shaoul, 41 F.3d 811, 815
    (2d Cir. 1994). The defendant in Shaoul also relied on
    Langford to contend that a new trial was appropriate
    “even if he cannot establish the juror’s dishonesty.” Id.
    This Court rejected that argument, concluding that
    “[s]uch a contorted reading of Langford is incorrect, be-
    cause it would eliminate the threshold requirement of
    the McDonough test: juror dishonesty.” Id. And this
    Court concluded that the defendant failed to satisfy
    the first prong of the test because “defense counsel ex-
    plicitly conceded the good faith of the juror.” Id. at 816;
    see United States v. McCoy, 995 F.3d 32, 51 (2d Cir.
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    2021) (holding that district court “properly recognized
    that the initial question to be explored is whether the
    juror’s nondisclosure was deliberate or inadvertent”),
    vacated on other grounds, 142 S. Ct. 2863 (2022), rein-
    stated, 58 F.4th 72, 75 (2d Cir. 2023).
        Maxwell’s claim also fails at the second step of
    McDonough. The hearing established that Juror 50
    harbored no bias, approached his jury service with an
    open mind, and was committed to deciding the case
    based on the evidence and the District Court’s legal in-
    structions. As Judge Nathan found, “Juror 50’s credi-
    ble responses [to questions asked of all jurors who in-
    dicated prior personal experience with sexual abuse]
    under oath at the hearing established that he would
    not have been struck for cause if he had provided ac-
    curate responses to the questionnaire.” (A.340). If Ju-
    ror 50 had accurately answered the questions relating
    to sexual abuse in the questionnaire, Judge Nathan
    would have asked Juror 50 follow-up questions during
    voir dire to determine if it would have granted a chal-
    lenge for cause. Judge Nathan asked those questions
    at the hearing, and Juror 50’s sworn responses made
    clear that he was a fair and impartial juror who did
    not harbor any bias and who would not have been ex-
    cused for cause.
       Nor was Juror 50 the subject of any bias, actual,
    implied, or inferred. After assessing Juror 50’s de-
    meanor, Judge Nathan found that he “repeatedly and
    credibly affirmed that his personal history of sexual
    abuse would not affect his ability to serve as a fair and
    impartial juror ‘in any way’ ” (A.341-42), belying any
    suggestion that he was actually biased against
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    Maxwell. Judge Nathan also correctly rejected Max-
    well’s “central argument” that she should imply or in-
    fer bias “based on the purported similarities between
    [Juror 50’s] personal history and the issues at trial.”
    (A.342-43). Judge Nathan explained that she “need not
    imagine a wholly hypothetical universe” to reach that
    conclusion. (A.344). During voir dire, she asked “every
    follow-up question requested by the Defendant with
    regard to a juror’s personal experience with sexual as-
    sault, abuse, or harassment; although, for a majority
    of these eight jurors, the Defendant did not propose
    any follow-up questions.” (A.344-45). One prospective
    juror described her own childhood sexual abuse at an
    age closer to the victims in this case; another described
    a friend’s recent coercive sexual abuse by a professor.
    (A.345). Maxwell did not even bring a for-cause chal-
    lenge as to either. (Id.). Similarly, a for-cause chal-
    lenge against Juror 50 would not have prevailed.
       On appeal, Maxwell contends that, had Juror 50
    answered the questionnaire accurately, it “clearly”
    would have provided a basis for a for-cause challenge.”
    (Br.67). In particular, Maxwell challenges Judge Na-
    than’s finding that Juror 50 was credible and unbi-
    ased, relying on a few isolated statements drawn from
    various parts of the hearing transcript and some of his
    post-verdict statements. (Br.71-72). As described
    above, Judge Nathan explained how Juror 50’s expla-
    nation for his erroneous answers was plausible and
    consistent, and she found him credible after assessing
    his demeanor through challenging questioning. She
    also properly disregarded his post-verdict statements
    about the case, explaining that “[a] juror’s view of a
    case and defendant would necessarily change after
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    reviewing thirteen days of evidence that persuaded
    twelve jurors of the Defendant’s guilt.” (A.352). Actual
    and inferred bias are both committed to the province
    of the trial judge, and Judge Nathan’s findings that
    neither existed were not clearly erroneous. See Torres,
    128 F.3d at 44 (“[A] finding of actual bias is based upon
    determinations of demeanor and credibility that are
    peculiarly within a trial judge’s province.”); United
    States v. Greer, 285 F.3d 158, 172 (2d Cir. 2002) (“[A]
    finding of inferred bias is, by definition, within the dis-
    cretion of the trial court.”).
        Maxwell also argues that Judge Nathan should
    have implied bias, highlighting some similarities be-
    tween Juror 50’s sexual abuse and the sexual abuse
    discussed at trial. (Br.67). That falls far short of re-
    quiring the District Court to imply bias. First, as
    Judge Nathan explained, the law is not that “bias must
    be implied when a juror has a personal experience sim-
    ilar to the issues at trial.” (A.349). Rather, this Court
    has “consistently refused to create a set of unreasona-
    bly constricting presumptions that jurors be excused
    for cause due to certain occupational or other special
    relationships which might bear directly or indirectly
    on the circumstances of a given case.” (A.349 (quoting
    Torres, 128 F.3d at 46)). This case is not within one of
    the rare, extreme circumstances where a mandatory
    presumption of bias applies. See, e.g., Torres, 128 F.3d
    at 45; Greer, 285 F.3d at 172. Second, although there
    are some similarities between Juror 50’s childhood
    sexual abuse, there are also differences: Juror 50 was
    younger than the trial victims at the time of their
    abuse, he was abused by a family member, and he dis-
    closed his abuse much earlier. (A.350). And critically,
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    Juror 50 credibly testified at the hearing that he was
    able to put aside his experience of sexual abuse and
    judge the evidence fairly. This is not the sort of “ex-
    treme situation that call[s] for mandatory removal.”
    (A.349 (quoting Torres, 128 F.3d at 46)).
          More generally, it is entirely appropriate for jurors
    to “rely on their common sense and life experiences to
    adjudge guilt.” (A.352). These “very human elements
    . . . constitute one of the strengths of our jury system,
    and we cannot and should not excommunicate them
    from jury deliberations.” (A.353 (quoting United States
    ex rel. Owen v. McMann, 435 F.2d 813, 818 (2d Cir.
    1970)). On these facts, “[t]o imply or infer that Juror
    50 was biased—simply because he was himself a vic-
    tim of sexual abuse in a trial related to sexual abuse
    and sex trafficking, and despite his own credible testi-
    mony under the penalty of perjury, establishing that
    he could be an even-handed and impartial juror—
    would be tantamount to concluding that an individual
    with a history of sexual abuse can never serve as a fair
    and impartial juror in such a trial. That is not the law,
    nor should it be.” (A.346-47).
        Finally, Maxwell suggests that Judge Nathan
    abused her discretion by precluding defense counsel
    from questioning Juror 50, and precluding inquiry into
    Juror 50’s “statements to journalists.” (Br.70). As to
    the former, the manner in which the hearing proceeds
    is committed to a district court’s “sound discretion,”
    Moten, 582 F.2d at 666, including specifically the “ex-
    tent to which the parties may participate in question-
    ing the witnesses,” Iannielo, 866 F.2d at 544. Judge
    Nathan reasonably decided to lead the questioning
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    herself, with repeated opportunities both before and
    during the hearing for counsel to suggest questions.
    And Judge Nathan’s decision is reinforced by counsel’s
    requests for “vexatious, intrusive, unjustified” subpoe-
    nas (SA365), and for questions that swept well beyond
    Juror 50’s ability to be an impartial juror and instead
    probed deeply into “other aspects of his life” (Br.69).
        As to Juror 50’s “statements to journalists,” it is not
    entirely clear which statements Maxwell thinks
    should have been part of the hearing. The hearing of
    course covered both the substance of his sexual abuse
    and the fact of his statements to journalists. (See, e.g.,
    A.275 (asking whether Juror 50 understood “from your
    interviews that the fact that you were abused would be
    a known fact in the world.”)). It appears that, in Max-
    well’s view, Judge Nathan should have inquired into
    whether and how his sexual abuse affected the delib-
    erations in the jury room. (Br.71 (suggesting that Ju-
    ror 50 “operate[d] as an unsworn expert on the subject
    of traumatic memory”)). Acknowledging Rule 606(b)’s
    prohibition on inquiry into jurors’ deliberations and
    mental processes, Maxwell argues that the exception
    for “extraneous prejudicial information [that] was im-
    properly brought to the jury’s attention,” Fed. R. Evid.
    606(b)(2)(A), applies here. (Br.71). But Maxwell ex-
    pressly waived this argument in the District Court, ex-
    plaining that she “[d]oes not seek to impeach the ver-
    dict based on the content of deliberations” and “need
    not inquire into the content of deliberations to estab-
    lish her jury bias claim.” (Dkt.613 at 49-50). And in
    any event, the exception does not apply because the
    “experiences that jurors are understood to bring with
    them to the jury room” are “internal matters” that do
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    not constitute “extraneous” information. Warger v.
    Shauers, 574 U.S. 40, 51-52 (2014) (rejecting party’s
    attempt to use the “extraneous” information exception
    to establish that a juror should have been excluded un-
    der McDonough based on his personal experiences).

                          POINT IV

     The District Court’s Response to a Jury Note Did
        Not Constructively Amend the Indictment
       At all times the Government consistently argued
    that Maxwell enticed and transported Jane to New
    York with the intent that Jane engage in illegal sexual
    activity, and that Maxwell conspired to do so regarding
    Jane and the other victims. That is the issue Judge
    Nathan instructed the jury to resolve, and that is the
    criminal conduct charged in Counts Three and Four of
    the Indictment. Accordingly, no constructive amend-
    ment or variance occurred.

    A. Relevant Facts
       Counts Three and Four charged Maxwell with ar-
    ranging for Jane’s transportation to New York with
    the intent that Jane would engage in sex acts with Ep-
    stein, in violation of New York state law, and with a
    conspiracy to transport minors to New York for the
    same purpose. (A.127-30). At trial, the Government
    marshalled evidence that Maxwell transported Jane to
    New York, and aided and abetted Epstein in doing so,
    with the intent that Jane engage in sexual activity
    there. That evidence included detailed testimony from
    Jane about Epstein’s New York residence (Tr.316-19)
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    and specific sexual acts that took place in New York
    while Jane was a minor (Tr.319-20).
        The Government’s summation similarly discussed
    these charges as encompassing conduct directed at
    New York. As to Count Four, the Government argued
    the evidence showed “Jane was transported to New
    York,” and Maxwell was involved in making travel ar-
    rangements. (Tr.2891 (emphasis added)). The Govern-
    ment also clarified that “[t]he crime happened the mo-
    ment [Maxwell, Epstein, and Jane] crossed state
    lines,” and “to be very clear, when Epstein flew Jane to
    New York and Maxwell aided and abetted him, that’s
    enough too.” (Id. (emphasis added)). For the conspiracy
    counts, the Government referenced its earlier discus-
    sion of the elements of the substantive offenses. And
    the Government argued that, “even though Carolyn
    and Annie were not sexually abused in New York . . .
    that is what [Maxwell and Epstein] both intended.”
    (Tr.2895 (emphasis added); see Tr.2895-96 (arguing
    that Maxwell “groomed Annie for abuse after she had
    already visited Epstein in New York.” (emphasis
    added))).
        The District Court’s jury instructions also permit-
    ted the jury to determine only whether Maxwell had
    intended that Jane (for the substantive counts) or the
    conspiracy victims engage in sexual activity in New
    York. During trial, Judge Nathan granted defense re-
    quests for limiting instructions at the time evidence
    came in to make clear that the charges focused on the
    intent that sexual activity take place in New York.
    (Tr.1167-68 (Kate), 2048-49 (Annie)). At the conclusion
    of trial, Judge Nathan instructed the jury that Count
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    Four alleged that Maxwell knowingly transported
    Jane “with the intent that Jane engage in sexual ac-
    tivity for which any person can be charged with a crim-
    inal offense in violation of New York law.” (Tr.3037;
    see Tr.3035 (second element of Count Four requires
    proof of an intent to violate “New York law as alleged
    in the indictment”)). Judge Nathan also instructed the
    jury on one and only one predicate state offense: a vio-
    lation of N.Y. Penal Law § 130.55. (Tr.3034, 3037). The
    instructions on Count Three incorporated this discus-
    sion of the elements of Count Four, and the only stat-
    ute identified was N.Y. Penal Law § 130.55. (Tr.3049-
    50, 3056-57).
       During deliberations, the jury sent the following
    note:
          Under Count Four, if the defendant aided
          in the transportation of Jane’s return
          flight, but not the flight to New Mexico
          where/if the intent was for Jane to en-
          gage in sexual activity, can she be found
          guilty under the second element?
    (Tr.3126). The note led to a lengthy discussion, at the
    conclusion of which Judge Nathan determined she
    should refer the jury back to the jury charge on the
    second element of Count Four because the jury note
    was otherwise “too difficult to parse factually and le-
    gally.” (Tr.3126-40).
       That night, Maxwell filed a letter seeking reconsid-
    eration of Judge Nathan’s response and raising the
    possibility of a constructive amendment or prejudicial
    variance because, in her view, the note showed that
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    the jury might convict based on Jane’s testimony that
    she was abused in New Mexico. (A.224-25). Maxwell
    asked Judge Nathan to instruct the jury as to the in-
    tent elements of Counts Two and Four, and add that
    “[a]n intent that Jane engage in sexual activity in any
    state other than New York cannot form the basis of
    these two elements of Counts Two and Four.” (A.229).
        Judge Nathan rejected Maxwell’s request both be-
    cause the jury did not inquire about Count Two and
    because the final sentence as “just wrong” in suggest-
    ing that an intent that Jane engage in sexual activity
    outside of New York “may have no relevance.”
    (Tr.3149). As Judge Nathan explained, “This is the
    same discussion we’ve had a couple of times . . . . Sex-
    ual activity with respect to Jane in New Mexico under
    the age of 17 can be relevant to an intent to transport
    to New York to engage in sexual activity under the age
    of 17 . . . .” (Tr.3149-50). Judge Nathan repeated that
    she did “not know how to parse the jury’s question ex-
    actly,” but that her instruction directing the jury to the
    original charge included a reminder that “it’s a viola-
    tion of New York penal law that’s charged and is the
    illegal sexual activity that they’re considering.”
    (Tr.3150). Judge Nathan also pointed out that Max-
    well did not “seek to exclude” Jane’s testimony about
    New Mexico, or “seek a limiting instruction with re-
    spect to that testimony.” (Tr.3153). Judge Nathan
    added “I have no idea if that’s what the jury is asking
    or many other plausible readings,” noted that the de-
    fense had proposed an “incorrect” instruction, and con-
    cluded no more was required than sending the jury
    “back to the charge.” (Tr.3154).
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    B. Applicable Law
        “A constructive amendment occurs when the
    charge upon which the defendant is tried differs sig-
    nificantly from the charge upon which the grand jury
    voted.” United States v. Khalupsky, 5 F.4th 279, 293
    (2d Cir. 2021). “Not every alteration of an indictment,
    however, rises to the level of a constructive amend-
    ment.” United States v. Dove, 884 F.3d 138, 146 (2d
    Cir. 2018). Instead, “[t]o prevail on a constructive
    amendment claim, a defendant must demonstrate that
    the terms of an indictment are in effect altered by the
    presentation of evidence and jury instructions which
    so modify essential elements of the offense that there is
    a substantial likelihood that the defendant may have
    been convicted of an offense other than that charged in
    the indictment.” United States v. D’Amelio, 693 F.3d
    412, 416 (2d Cir. 2012).
        This Court has “consistently permitted significant
    flexibility in proof, provided that the defendant was
    given notice of the core of criminality to be proven at
    trial.” United States v. Lebedev, 932 F.3d 40, 53 (2d
    Cir. 2019). The “core of criminality” is “the essence of
    a crime, in general terms,” but not “the particulars of
    how a defendant effected the crime.” D’Amelio, 693
    F.3d at 418. There is no constructive amendment
    where the allegations in the indictment and the proof
    at trial both relate to a “single set of discrete facts,” or
    form “part of a single course of conduct” with the same
    “ultimate purpose.” Id. at 419-21.
       “A variance occurs when the charging terms of the
    indictment are left unaltered, but the evidence offered
    at trial proves facts materially different from those
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    alleged in the indictment.” United States v. Banki, 685
    F.3d 99, 119 (2d Cir. 2012). Reversal due to a variance
    is appropriate only when the defendant can establish
    “that substantial prejudice occurred at trial as a result
    of the variance,” a showing that cannot be made
    “where the pleading and the proof substantially corre-
    spond, where the variance is not of a character that
    could have misled the defendant at trial, and where
    the variance is not such as to deprive the accused of
    his right to be protected against another prosecution
    for the same offense.” Khalupsky, 5 F.4th at 294. So
    long as a defendant receives notice of the Govern-
    ment’s theory, the defendant cannot show prejudice.
    See, e.g., Banki, 685 F.3d at 119.
       This Court reviews claims of constructive amend-
    ment and prejudicial variance de novo. Dove, 884 F.3d
    at 146, 149.

    C.   Discussion
        There is no likelihood—much less a substantial
    likelihood—that the jury convicted Maxwell solely be-
    cause Jane was transported to New Mexico. At no
    point during the trial, including its summation, did the
    Government argue that the jury could convict on a the-
    ory that Maxwell intended Jane to be abused in New
    Mexico. Similarly, the District Court’s charge required
    the jury to decide whether Maxwell intended to violate
    New York law. The trial contained no instructions de-
    scribing for the jury any particular criminal statute in
    New Mexico, or any other basis by which a jury could
    convict based on conduct in New Mexico.
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        Maxwell’s argument to the contrary rests entirely
    on her reading of the jury note. According to Maxwell,
    the note shows that the jury “decided that there was
    no corroborating evidence that Maxwell was present
    for, or helped to arrange, any of Jane’s trips to New
    York, but that the flight logs did corroborate that Max-
    well was present for Jane’s trip to New Mexico.”
    (Br.79). This reading, she claims, is buttressed by the
    fact that the jury acquitted on Count Two, which, in
    her telling, shows that the jury “determined that the
    only corroborating evidence linking Maxwell to the
    New Mexico trip was a flight log showing that she was
    present on the trip but said nothing about whether she
    ‘persuaded, induced, enticed, or coerced’ Jane to take
    the trip.” (Br.79).
        Judge Nathan correctly rejected this argument.
    Judge Nathan found that the original jury instructions
    and the Government’s summation captured the core of
    criminality charged in the Indictment, focusing specif-
    ically on conduct directed at and sexual activity in New
    York. (A.382-85). Even if the note revealed that the
    jury were confused and wondered whether it could con-
    vict based on conduct in New Mexico, Judge Nathan’s
    response ameliorated that confusion. As Judge Nathan
    explained, she sent the jury back to the instruction,
    which “accurately instructed that Count Four had to
    be predicated on finding a violation of New York Law.”
    (A.387). That was sufficient. See United States v.
    Rommy, 506 F.3d 108, 126 (2d Cir. 2007) (court “enjoys
    considerable discretion” in “framing a response” to a
    jury note and “is only required to answer the particu-
    lar inquiries posed”). As Judge Nathan explained,
    Maxwell failed to propose a better response,
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    requesting instead a series of instructions that were
    “unresponsive,” “redundant,” and “legally inaccurate.”
    (A.388-89). See Rommy, 506 F.3d at 126 (court re-
    sponding to jury note “is not required to reference spe-
    cific arguments advanced or defenses raised by counsel
    in urging particular outcomes”). Judge Nathan’s re-
    sponse to the jury note was sound and did not con-
    structively amend the Indictment.
        Maxwell’s contrary view rests on extensive specu-
    lation about “which flights and evidence the jury was
    referencing in the note.” (A.386). The trial included,
    among other evidence, testimony by Jane about “tak-
    ing numerous flights both on Epstein’s private plane
    and on commercial carriers.” (A.386). Maxwell ignores
    that evidence, focusing on a specific trip referenced in
    the flight logs. (Br.78-79). Even if Maxwell correctly
    identified the flight at issue, it still betrayed no jury
    confusion. The origin of that trip was New York, and
    the jury’s focus was on the “return flight”—which it
    could have inferred was a flight to New York, where
    Maxwell intended Jane to engage in sexual activity.
         Her view also rests on adopting one specific reading
    of a note that, as Judge Nathan explained, was “decid-
    edly ambiguous as to the precise legal question being
    asked” (A.386). See Rommy, 506 F.3d at 126 (district
    court “enjoys considerable discretion in construing the
    scope of a jury inquiry”). Maxwell herself initially un-
    derstood the note to be about “aiding and abetting” li-
    ability, and whether sexual activity was a sufficiently
    “ ‘significant or motivating purpose’ for the travel.”
    (A.387); see United States v. Kim, 471 F. App’x 82, 84
    (2d Cir. 2012) (affirming jury instructions that
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    prostitution must be a “significant or motivating pur-
    pose” of the interstate transportation). Maxwell only
    came to the theory she now advances after a lengthy
    discussion spanning ten pages of the transcript.
    (A.387). And that reading is far from clear: the jury’s
    question does not ask whether certain facts are suffi-
    cient for guilt; it asks whether Maxwell “can be found
    guilty” if a certain fact is true. Maxwell “can” be found
    guilty based in part on sexual activity occurring in
    New Mexico, which is probative of Maxwell’s intent
    and role in transporting Jane. That is a perfectly sen-
    sible question for the jury to ask—indeed, it was re-
    peatedly raised by defense counsel to Judge Nathan at
    trial. (See, e.g., Tr.3149).
        Setting aside the jury note, Maxwell’s position re-
    quires the jury to have reached a series of odd conclu-
    sions. Jane testified at length about her travel to New
    York and the ensuing sexual abuse there. It would
    make little sense for the jury to reject that testimony,
    and then conclude that Maxwell arranged the uniden-
    tified commercial return flight Maxwell now empha-
    sizes, for which there is no documentary evidence in
    the record, including no specific corroboration of Max-
    well’s role in arranging that flight. (Compare Br.79-80
    (“[T]he jury likely believed that if they found Maxwell
    had some role in arranging Jane’s return flight from
    New Mexico, after the sexual abuse had already taken
    place, they could convict her on the substantive trans-
    portation count . . . .”) with Tr.3133 (defense argument
    that there is “no evidence” Maxwell arranged a return
    flight from New Mexico)). Maxwell suggests that the
    jury thought the flight records to be critical evidence,
    but the flight logs also demonstrate that Jane was
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    flown to New York on Epstein’s private jet, corroborat-
    ing her testimony on that point. (See Br.79 (citing GX-
    662-R at 44)). The same is true regarding Maxwell’s
    comparison of Counts Two and Four: in Maxwell’s
    view, the jury rejected nearly all of the evidence of
    Maxwell’s enticement of Jane to New York for lack of
    corroboration, and then convicted her based on an un-
    supported speculative leap about arranging an uni-
    dentified return flight from New Mexico. That is not
    plausible, and it certainly is not a “substantially
    likely” conclusion that can be drawn from an inscruta-
    ble jury note.
        For similar reasons, no variance occurred. As dis-
    cussed above, the proof at trial corresponded to the al-
    legations in the Indictment, namely, evidence and ar-
    gument that Maxwell enticed and transported Jane to
    New York in order to facilitate sexual abuse there.
    Maxwell was also well aware that the Government’s
    proof would include conduct in New Mexico. (See
    A.117, 121-22, 126). Maxwell therefore had “fair and
    adequate notice” that the conspiracies included con-
    duct at Epstein’s New Mexico home, which is all that
    is required. United States v. Salmonese, 352 F.3d 608,
    622 (2d Cir. 2003). In any event, the Government pro-
    duced on November 6, 2021—more than three weeks
    before trial—notes from an interview with Jane de-
    scribing sexual abuse in New Mexico. That is suffi-
    cient. See Lebedev, 932 F.3d at 54 (rejecting a prejudice
    argument in part because “[t]he government disclosed
    the evidence and exhibits . . . four weeks prior to trial”).
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                            POINT V

       The Sentence Was Procedurally Reasonable

    A. Applicable Law
       A district court commits procedural error if, among
    other things, it “makes a mistake in its Guidelines cal-
    culation” or “fails adequately to explain its chosen sen-
    tence.” United States v. Cavera, 550 F.3d 180, 190 (2d
    Cir. 2008) (en banc). This Court reviews a district
    court’s” application of the Guidelines de novo, while
    factual determinations underlying a district court’s
    Guidelines calculation are reviewed for clear error.”
    United States v. Cramer, 777 F.3d 597, 601 (2d Cir.
    2015). In explaining the sentence, a district court must
    show that “it has considered the parties’ arguments
    and that it has a reasoned basis for exercising its own
    legal decisionmaking authority.” Cavera, 550 F.3d at
    193.

    B. Discussion
       Maxwell argues that the District Court erred by ap-
    plying a four-level leadership enhancement under
    § 3B1.1 of the Sentencing Guidelines. That enhance-
    ment applies when a defendant was an “organizer or
    leader of a criminal activity that was . . . otherwise ex-
    tensive,” which must include the defendant’s leader-
    ship of at least one other criminal participant.
    U.S.S.G. § 3B1.1 & cmt. n.2. Maxwell contests only
    whether the evidence showed that she led another
    criminal participant. (Br.84-85).
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       On that point, Judge Nathan found that Maxwell
    led Sarah Kellen. Two witnesses, both pilots for Ep-
    stein, testified that Kellen was Maxwell’s assistant.
    (A.417; see Tr.139-40, 1890). Judge Nathan found that
    testimony credible, in part because it was corroborated
    by other testimony that Maxwell was Epstein’s “num-
    ber two and the lady of the house” in Palm Beach
    where much of the abuse occurred and where Kellen
    worked. (A.417). The trial evidence showed that Kellen
    scheduled sexualized massages and took nude photo-
    graphs of Carolyn. (PSR ¶ 66; Tr.1554-55). Even after
    Kellen took over some of Maxwell’s duties, Maxwell
    continued to manage her by virtue of her position in
    the house, a fact corroborated by a household manual
    directing staff to tend to the specific needs of Epstein,
    Maxwell, and their guests, as well as flight records
    showing that Maxwell and Kellen flew together on Ep-
    stein’s planes dozens of times. (A.417). The clear infer-
    ence from this record is that Maxwell instructed Kel-
    len regarding how to schedule massages and run the
    part of the scheme that Maxwell had previously han-
    dled, at which point Kellen switched to making calls to
    schedule appointments following Maxwell’s directions.
    Maxwell argues that Judge Nathan erred because a
    defense witness testified that she, rather than Kellen,
    was Maxwell’s assistant. (Br.85). That uncorroborated
    testimony is not enough to render Judge Nathan’s
    finding clearly erroneous. Moreover, what matters is
    whether Maxwell exercised supervisory authority over
    Kellen, not whether Kellen or another individual was
    formally Maxwell’s assistant.
      Maxwell also argues that when imposing the 240-
    month sentence, which was above the Guidelines
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    range of 188 to 235 months’ imprisonment, Judge Na-
    than “failed to provide reasons for its upward vari-
    ance.” (Br.84). Maxwell’s one-sentence argument is so
    cursory and undeveloped that it should be deemed
    waived. See United States v. Botti, 711 F.3d 299, 313
    (2d Cir. 2013) (“It is a settled appellate rule that issues
    adverted to in a perfunctory manner, unaccompanied
    by some effort at developed argumentation, are
    deemed waived.”). In any event, Judge Nathan en-
    gaged in a lengthy discussion of the sentencing factors
    when imposing sentence, including Maxwell’s “pivotal
    role” in “heinous and predatory” sexual abuse of minor
    girls. (SA459). In describing the seriousness of the of-
    fense, Judge Nathan found Maxwell’s crimes to be
    both “extensive” and far-reaching” and concluded that
    “the damage done to these young girls was incalcula-
    ble,” as a result of “the painful, horrific, and lasting
    impact of [the] trauma” they endured. (SA460). After
    an extensive discussion of Maxwell’s horrifying crimes,
    Judge Nathan explained that this conduct “demands a
    substantial sentence that meets the scope of the con-
    duct and the scope of the harm,” and that the sentence
    must “send an unmistakable message” of general de-
    terrence to “those who engage in and facilitate the sex-
    ual abuse and trafficking of underage victims” that
    “nobody is above the law.” (SA461). Accordingly, Judge
    Nathan concluded that “a very serious, a very signifi-
    cant sentence is necessary to achieve the purposes of
    punishment” under 18 U.S.C. § 3553(a). (SA462). This
    discussion belies any claim that Judge Nathan inade-
    quately explained the sentence.
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                        CONCLUSION
       The judgment of conviction should be affirmed.

    Dated:    New York, New York
              June 29, 2023

                         Respectfully submitted,

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               CERTIFICATE OF COMPLIANCE
       Pursuant to Federal Rule of Appellate Procedure
    32(g), the undersigned counsel hereby certifies that
    this brief complies with the type-volume limitation set
    by the Court in its order dated April 28, 2023. As meas-
    ured by the word processing system used to prepare
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